Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 1 of 105 PageID 5654



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                          AMARILLO DIVISION

THE STATE OF MISSOURI;                    )
THE STATE OF KANSAS; and                  )
THE STATE OF IDAHO,                       )
                                          )
              Plaintiffs,                 )
                                          )
v.                                        )
                                          )
U.S. FOOD AND DRUG                        )
ADMINISTRATION; ROBERT M. CALIFF, )
M.D., in his official capacity as         )             Case No. 2:22-cv-00223-Z
Commissioner of Food and Drugs, U.S.      )
Food and Drug Administration; JANET       )
WOODCOCK, M.D., in her official capacity )
as Principal Deputy Commissioner, U.S.    )
Food and Drug Administration;             )
PATRIZIA CAVAZZONI, M.D., in her          )
official capacity as Director, Center for )
Drug Evaluation and Research, U.S.        )
Food and Drug Administration; U.S.        )
DEPARTMENT OF HEALTH AND                  )
HUMAN SERVICES; and XAVIER                )
BECERRA, in his official capacity as      )
Secretary, U.S. Department of Health and )
Human Services,                           )
                                          )
              Defendants.                 )

                                    COMPLAINT


      1.     The U.S. Food and Drug Administration (FDA) has the statutory

responsibility to protect the health, safety, and welfare of all Americans by rejecting

or limiting the use of drugs dangerous to the public.

      2.     The FDA has failed in this responsibility. Specifically, it failed America’s

women and girls when it chose politics over science and approved risky, untested



                                           1
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 2 of 105 PageID 5655



chemical abortion drugs for use in the United States. And it has continued to fail

them by turning a blind eye to these harms and repeatedly removing even the most

basic precautionary requirements associated with the use of these risky drugs.

      3.     To date, the FDA’s review, approval, and deregulation of chemical

abortion   drugs   has   spanned   three   decades,     crossed   several   presidential

administrations, and encompassed six discrete agency actions. Plaintiffs challenge

these actions by the FDA and ask that the Court hold them unlawful, set them aside,

and vacate them.

      4.     In particular, Plaintiff States challenge three agency actions: (1) the

2016 rollback of most of the safety precautions FDA had put in place when it approved

mifepristone in 2000; (2) the 2019 FDA approval of generic mifepristone; and (3) the

2021 and 2023 policy allowing these drugs to be sent by mail.

      5.     The first and third of these actions have already been preliminarily

enjoined to the benefit of the plaintiffs who brought the instant case. That was

affirmed on appeal. All. for Hippocratic Med. v. U.S. Food & Drug Admin., 78 F.4th

210 (5th Cir. 2023).

      6.     Because Plaintiff States have standing (as established below), Fifth

Circuit precedent thus establishes that Plaintiff States are also entitled to a

preliminary injunction with respect to those actions.

      7.     The Fifth Circuit concluded that the plaintiffs in Alliance for

Hippocratic Medicine “did not introduce evidence showing that they are likely to be

injured by the 2019 Generic Approval”—i.e., the second agency action Plaintiff States




                                           2
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 3 of 105 PageID 5656



challenge—and thus preliminary injunctive relief was not warranted for those

plaintiffs. Id. at 241. Plaintiff States, in contrast, attach evidence to this complaint

showing that they are harmed by the 2019 approval of generic mifepristone. Ex. 36,

Studnicki Affidavit.

      8.     In January 1993, President Clinton directed his cabinet to take the steps

necessary to legalize chemical abortion drugs in the United States.

      9.     President Clinton and his agency officials then pressured the foreign

manufacturer of the key chemical abortion drug, mifepristone (also known as

“Mifeprex”) to donate the U.S. patent rights of the drug to the Population Council—

an entity focused on global population control.

      10.    After receiving the patent rights to mifepristone, the Population Council

submitted a new drug application for its mifepristone drug to the FDA and worked

closely with Clinton’s FDA during the review process. Unsurprisingly, the Population

Council obtained the agency’s approval for the drug on September 28, 2000—less than

eight years later.

      11.    The only way for the FDA to approve a chemical abortion drug was for

FDA to use its accelerated drug approval authority. This required that the FDA call

pregnancy an “illness” and argue that these dangerous chemical abortion drugs

provide a “meaningful therapeutic benefit” over existing treatments.

      12.    Pregnancy is not an illness, and chemical abortion drugs do not provide

a “therapeutic benefit” over surgical abortion. The FDA exceeded its regulatory

authority by approving the drug based on these transparently false conclusions.




                                           3
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 4 of 105 PageID 5657



      13.    The FDA’s decision to approve the drug also required the agency to

disavow science and the law. The FDA never studied the safety of the chemical

abortion drugs under the labeled conditions of use, despite being required to do so by

the Federal Food, Drug, and Cosmetic Act (FFDCA). The agency also ignored the

potential impacts of the hormone-blocking regimen on the developing bodies of

adolescent girls, a violation of the Pediatric Research and Equity Act (PREA). The

FDA also disregarded the substantial evidence that chemical abortion drugs cause

even more medical complications than surgical abortions.

      14.    Since it approved the drug, the FDA has not followed the science,

reversed its approval, or fixed the mistakes inherent in its approval. To the contrary,

the FDA has doubled down on its actions and later removed the few safeguards that

were originally in place.

      15.    In 2002, several organizations “filed a citizen petition, asking FDA to

revoke its approval of mifepristone.” AFH, 78 F.4th at 225. The petitions explained

that the FDA violated federal laws by approving the chemical abortion drugs and

ignoring the substantial evidence that these drugs harm women and girls. It was not

until fourteen years later, in March 2016, that the FDA rejected these petitions. Id.

      16.    On the same day that the FDA rejected the citizen petitions, the FDA

made additional “major changes” to the chemical abortion drug regimen. These

changes included eliminating crucial safeguards for pregnant women and girls.




                                          4
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 5 of 105 PageID 5658



      17.    By way of example, one of these changes included the FDA extending

the permissible gestational age of the baby for which a pregnant woman or girl may

take chemical abortion drugs from seven weeks to ten weeks.

      18.    Numerous studies show that there are increased risks from chemical

abortion drugs to pregnant women and girls as the baby’s age advances from seven

weeks to ten weeks, due in part to significant growth of the placenta and the baby

during that period.

      19.    Other major changes that occurred in 2016 include that the FDA:

(1) changed the dosage and route of administration for the chemical abortion drugs;

(2) reduced the number of required in-person office visits before the chemical abortion

drug could be described from three to one; (3) expanded who could prescribe and

administer chemical abortion drugs beyond medical doctors; and (4) eliminated the

requirement for abortionists to report non-fatal complications from chemical abortion

drugs. All of these changes were made without any objective clinical investigations

or studies that evaluated the safety and effectiveness of this new chemical abortion

regimen or any safety assessment of its side effects on the developing bodies of girls

under 18 years of age.

      20.    The FDA’s major changes failed to satisfy the rigorous scientific

standards of the FFDCA and violated PREA’s requirement for a specific safety

assessment of these changes on pregnant girls who undergo the revised chemical

abortion drug regime.




                                          5
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 6 of 105 PageID 5659



       21.    The Population Council was not the only entity that sought to benefit

economically from the FDA’s rapidly loosening restrictions. In 2019, the FDA

approved a generic version of Mifeprex without requiring any new clinical

investigations or studies that evaluated the drug’s safety and effectiveness under

either the requirements of the FFDCA or any specific safety assessments on girls as

set forth under PREA.

       22.    In April 2021, the FDA’s new management, installed by the Biden

Administration, issued a “Non-Enforcement Decision” for mifepristone. Under this

decision, the agency would stop enforcing its requirement that abortionists provide

in-person dispensing of mifepristone and instead would temporarily allow mail-order

chemical abortions during the COVID-19 public health emergency despite a statute

expressly disallowing that conduct. 18 U.S.C. § 1461.

       23.    As with the 2000 approval, several organizations filed a citizen petition

in 2019 challenging the 2016 changes. AFH, 78 F.4th at 226. This petition included

an in-depth discussion of how the agency violated the law by ignoring the growing

and substantial evidence that these dangerous drugs harm women and girls. Two and

a half years later, in December 2021, the FDA rejected almost all the relief sought in

the citizen petition.

       24.    Also in December 2021, the Biden FDA announced that it would

permanently allow abortionists to send chemical abortion drugs through the mail, in

blatant violation of statutory law. 18 U.S.C. § 1461.




                                           6
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 7 of 105 PageID 5660



      25.    This decision by the FDA harms women and girls who undergo chemical

abortions. Additionally, the Biden FDA’s decision further assists sex traffickers and

sexual abusers to force their victims to get abortions without authorities able to

identify these victims.1 In fact, the State of Texas, where this lawsuit is being heard,

has directly recognized that “[d]ue to the potentially high number of trafficking

victims who undergo abortion procedures, abortion facility employees are uniquely

situated to identify and assist victims of sex trafficking.”2

      26.    In addition to the legal and scientific failings by the FDA noted above,

all of the FDA’s actions on chemical abortion drugs—the 2000 approval, the 2016

major changes, the 2019 generic drug approval, and the two actions to eliminate the

in-person dispensing requirement—failed to account for or to address the federal laws

that prohibit the distribution of chemical abortion drugs by postal mail, express

company, or common carrier. See 18 U.S.C. §§ 1461, 1462. Instead, through its words

and actions FDA permitted and sometimes even encouraged these illegal activities.

      27.    FDA has spent over two decades shamelessly flouting federal statutes

and its own regulations. Now, Plaintiffs ask the Court to step in and protect women



1 See, e.g., Laura J. Lederer & Christopher A. Wetzel, The Health Consequences of Sex

Trafficking and Their Implications for Identifying Victims in Healthcare Facilities,
Annals of Health Law, Winter 2014 at 61, 73, 77–78 (noting that survivors in the
study “reported that they often did not freely choose the abortions they had while
being trafficked,” that these “[s]urvivors [] had significant contact with clinical
treatment facilities, most commonly Planned Parenthood clinics,” and that “these
points of contact with healthcare represent rare opportunities for victim
identification and intervention.”).
2   C.S.H.B. 3446, H. Comm. Rpt., 84th Legis. (Mar. 12, 2015),
https://capitol.texas.gov/tlodocs/84R/analysis/pdf/HB03446H..pdf (a subsequent,
similar version was codified at Tex. Health & Safety Code § 245.025).


                                            7
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 8 of 105 PageID 5661



and girls by holding unlawful, setting aside, and vacating the FDA’s actions to both

approve chemical abortion drugs and eviscerate crucial safeguards for those who

undergo this dangerous drug regimen.


                          JURISDICTION AND VENUE


      28.    This Court has subject-matter jurisdiction under 28 U.S.C. § 1331

because this action raises federal questions under the Administrative Procedure Act

(APA), 5 U.S.C. §§ 553, 701-06, and the FFDCA, 21 U.S.C. § 301 et seq.

      29.     This Court has jurisdiction under 28 U.S.C. § 1346(a) because this is a

civil action against the United States.

      30.    This Court has jurisdiction under 28 U.S.C. § 1361 because this lawsuit

is an action to compel an officer of the United States or any federal agency to perform

his or her duty.

      31.    This Court has jurisdiction to review Defendants’ unlawful actions and

enter appropriate relief under the APA, 5 U.S.C. §§ 553, 701–06.

      32.    This Court has jurisdiction to issue equitable relief necessary and

appropriate to enjoin ultra vires agency action under an equitable cause of action.

Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 689–91 (1949).

      33.    This lawsuit seeks declaratory, injunctive, and other appropriate relief

under the Declaratory Judgment Act, 28 U.S.C. §§ 2201–02, 5 U.S.C. §§ 705–06,

Federal Rule of Civil Procedure 57, and this Court’s inherent equitable powers.

      34.    This Court may award costs and attorneys’ fees to Plaintiffs under the

Equal Access to Justice Act, 28 U.S.C. § 2412.


                                          8
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 9 of 105 PageID 5662



      35.    Venue properly lies in this Court pursuant to 28 U.S.C. § 1391 because

a substantial part of the facts, events or omissions giving rise to the claims occurred

in this district, and a substantial part of property that is the subject of this action is

situated in this district. Plaintiff States bring this intervention action in the same

district and division in which an action involving the same subject matter is already

pending. Defendants are United States officers or agencies sued in their official

capacities. A substantial part of the events or omissions giving rise to the Complaint

occurred within the Northern District of Texas.


                            PARTIES TO THIS ACTION


      36.    Plaintiff the State of Missouri is a sovereign state of the United States

of America. Missouri sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests.

      37.    Plaintiff the State of Kansas is a sovereign state of the United States of

America. Kansas sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests.

      38.    Plaintiff the State of Idaho is a sovereign state of the United States of

America. Idaho sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests.

      39.    Defendant FDA is an agency of the federal government within the

United States Department of Health and Human Services (HHS). The Secretary of

HHS has delegated to the FDA the authority to administer the provisions of the

FFDCA for approving new drug applications and authorizing a risk evaluation and


                                            9
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 10 of 105 PageID 5663



mitigation strategy (REMS) for dangerous drugs. FDA’s headquarters is located at

10903 New Hampshire Avenue, Silver Spring, Maryland 20993.

      40.    Defendant Robert Califf, M.D., named in this lawsuit in his official

capacity, is the Commissioner of Food and Drugs at the FDA. Dr. Califf is responsible

for supervising all of the activities of the FDA, including the approval of new drug

applications and the issuance, waiver, suspension, or removals of a REMS. Dr. Califf’s

official address is 10903 New Hampshire Avenue, Silver Spring, Maryland 20993.

      41.    Defendant Janet Woodcock, M.D., named in this lawsuit in her official

capacity, is the Principal Deputy Commissioner, Office of the Commissioner, at the

FDA. She works closely with the Commissioner of Food and Drugs at the FDA to

develop and implement key public health initiatives. She also oversees the agency’s

day-to-day functions. Dr. Woodcock served as the Acting Commissioner of Food and

Drugs from January 20, 2021, until February 17, 2022. Dr. Woodcock’s official

address is 10903 New Hampshire Avenue, Silver Springs, Maryland 20993.

      42.    Defendant Patrizia Cavazzoni, M.D., named in this lawsuit in her

official capacity, is the Director of the FDA’s Center for Drug Evaluation and

Research. Dr. Cavazzoni is responsible for the regulation of drugs throughout their

lifecycle, the regulation of the development of new and generic drugs, the evaluation

of applications to determine whether drugs should be approved, the monitoring of the

safety of drugs after they are marketed, and the taking of enforcement actions

necessary to protect the public from harmful drugs. Dr. Cavazzoni’s official address

is 10903 New Hampshire Avenue, Silver Springs, Maryland 20993.




                                         10
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 11 of 105 PageID 5664



      43.    Defendant HHS is a federal agency underneath the executive branch of

the U.S. government, including under 5 U.S.C. § 551 and 701(b)(1). Defendant’s

address is 200 Independence Avenue SW, Washington, D.C. 20201.

      44.    Defendant Xavier Becerra is the Secretary of HHS and is named in this

lawsuit in his official capacity. Defendant Becerra is responsible for the overall

operations of HHS, including the operations of the FDA. His official address is 200

Independence Avenue SW, Washington, D.C. 20201.

      45.    Collectively when applicable, all aforementioned defendants are

referred to herein as the “FDA” or “Defendants.” Plaintiffs’ claims against Defendants

includes all employees, agents, or successors in office of Defendants.

      46.    All federal officials named as Defendants in this action are subject to the

APA. 5 U.S.C. § 701(b); 5 U.S.C. § 551(1).


                            FACTUAL ALLEGATIONS


      47.    This action challenges the FDA’s repeated, long-running failure to abide

by its legal obligations to protect the health, safety, and welfare of women and girls

and comply with statutory law when the FDA authorized the chemical abortion drugs

mifepristone and misoprostol for use in the United States. FDA compounded these

failures when it eliminated necessary safeguards for pregnant women and girls who

undergo this dangerous drug regimen.

      48.    The FDA has never had the authority required to approve these drugs

for sale to the public. In 2000, the FDA approved chemical abortion drugs under its

authority in 21 C.F.R. § 314, Subpart H (Subpart H). The relevant section of this


                                          11
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 12 of 105 PageID 5665



regulation authorizes the FDA to grant “accelerated approval” of “certain new drug

products that have been studied for their safety and effectiveness in treating serious

or life-threatening illnesses and that provide meaningful therapeutic benefit to

patients over existing treatments.” 21 C.F.R. § 314.500 (emphasis added).

       49.    Chemical abortion drugs like mifepristone do not treat serious or life-

threatening “illnesses.” Pregnancy is a normal physiological state that many women

experience at least once in their life. Pregnancy rarely leads to complications that

threaten the life of the mother or child and, following delivery, almost all women

return to their normal routine.3 Although pregnancy can sometimes be associated

with illness, it is not itself an “illness.”

       50.    Chemical abortion drugs like mifepristone do not provide a “meaningful

therapeutic benefit” to women and girls over existing treatments.

       51.    On the contrary, the FDA’s approval of chemical abortion drugs has had

potentially serious and life-threatening effects on women and girls. This is especially

the case when the effects of chemical abortions are compared to the effects of surgical

abortions that rely on medical devices and tools to physically remove a baby from

inside the pregnant mother.

       52.    Endocrine disrupters such as mifepristone could have significant

impacts on an adolescent girl’s developing body and reproductive system. Despite this



3 Byron Calhoun, The maternal mortality myth in the context of legalized abortion, 80

The Linacre Quarterly 264, 264–76 (2013); James Studnicki & Tessa Longbons,
Pregnancy is Not More Dangerous Than Abortion, Nat’l Rev. (Aug. 28, 2022),
https://www.nationalreview.com/2022/08/pregnancy-is-not-more-dangerous-than-
abortion/.


                                               12
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 13 of 105 PageID 5666



fact, the FDA has never required an assessment that evaluated the safety and

effectiveness of chemical abortion drugs on pregnant girls under 18 years of age.

      53.    Not only has the FDA continued to keep chemical abortion drugs on the

market, it has also eliminated the few safeguards it initially established to protect

women and girls who receive a chemical abortion drug.

      54.    In 2016, the FDA made taking chemical abortion drugs even more

dangerous for women and girls by (1) allowing pregnant women and girls to take the

drug at up to 70 days’ gestation rather than only 49 days’ gestation; (2) allowing non-

doctors to prescribe and administer chemical abortions; (3) reducing the number of

required in-person office visits from three to one; (4) changing the dosage and route

of drug administration; (5) failing to require a clinical study to determine the safety

of these changes on pregnant girls under 18 years old; and perhaps most shocking,

(6) eliminating the requirement for prescribers to report nonfatal adverse events from

chemical abortion—the natural and probable consequence of which is that the FDA

and the public would never learn how many more injuries happen because the prior

safeguards were removed.

      55.    More recently, in 2021, the FDA announced that abortionists could now

dispense chemical abortion drugs by mail or mail-order pharmacy, which

longstanding federal law expressly prohibits.

      56.    This Court should protect women and girls by holding unlawful, setting

aside, and vacating the FDA’s actions to approve and eliminate the safeguards for

those who take chemical abortion drugs.




                                          13
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 14 of 105 PageID 5667



I.    Negative effects of chemical abortion drugs and their administration.

      57.    The administration of chemical abortion drugs requires two drugs: (1)

mifepristone (also called “Mifeprex” and “RU-486”) and (2) misoprostol.

      58.    Mifepristone is a synthetic steroid and endocrine disruptor that blocks

progesterone receptors in the uterus. Progesterone is necessary for the healthy

growth of a baby in utero and the maintenance of a pregnancy. When a woman or

girl ingests mifepristone, it blocks her natural progesterone, chemically destroys the

baby’s uterine environment, prevents the baby from receiving nutrition, and

ultimately starves the baby to death in the womb.

      59.    Mifepristone alone works less than 25 percent of the time to complete

the abortion, so the FDA mandates the use of a second drug, misoprostol, to induce

cramping and contractions in an attempt to expel the baby from the mother’s womb.

      60.    The only other FDA-approved use of misoprostol is to reduce the risk of

gastric ulcers induced by nonsteroidal anti-inflammatory drugs (NSAIDs) in patients

at high risk for complications from gastric ulcers and patients at high risk of

developing gastric ulceration.4 Misoprostol’s label warns that the drug “should not

be taken by pregnant women to reduce the risk of ulcers” by NSAIDs.5

      61.    The use of these two chemical abortion drugs causes significant injuries

and harms to pregnant women and girls.




4  See, e.g., Ex. 1, FDA-Approved Label for Misoprostol (Cytotec) (Jan. 2017),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/019268s051lbl.pdf.
5 Id.



                                         14
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 15 of 105 PageID 5668



      62.    For example, more than 10% of women who take chemical abortion

drugs need follow-up medical treatment for an incomplete or failed chemical

abortion,6 with an average of 39% percent of women requiring surgery if taken in the

second trimester.7 And 20% of females who take chemical abortion drugs experience

a related adverse medical event—which is a rate that is four times higher than those

who experience surgical abortion. Over 15% of females who take chemical abortion

drugs experience hemorrhage, and 2% experience an infection.

      63.    Chemical abortions are over fifty percent (50%) more likely than surgical

abortions to result in an emergency department visit within thirty days, affecting one

in twenty females.8

      64.    The number of chemical abortion-related emergency room visits

increased by over five hundred percent (500%) between 2002 and 2015.9

      65.    For those women and girls who take chemical abortion drugs, there is a

significant increase in risk of complications as the baby’s gestational age increases.

One study found that, after nine weeks’ gestation, almost four times as many women

and girls experience an incomplete abortion, nearly twice as many suffer an infection,




6 Ex. 2, Maarit Niinimaki et al., Comparison of rates of adverse events in adolescent

and adult women undergoing medical abortion: population register based study, BJM,
April 20, 2011, at 4.
7 Ex. 3, Maarit J. Mentula et al., Immediate adverse events after second trimester

medical termination of pregnancy: results of a nationwide registry study, 26 Hum.
Reprod. 927, 931 (2011).
8 Ex. 4, James Studnicki et al., A Longitudinal Cohort Study of Emergency Room

Utilization Following Mifepristone Chemical and Surgical Abortions, 1999-2015,
Health Serv. Rsch. & Managerial Epidemiology, Nov. 9, 2021.
9 Id. at 5.



                                         15
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 16 of 105 PageID 5669



and over six times as many women and girls require surgical abortion after

consuming the chemical abortion drugs.10

      66.    Chemical abortion drugs have heightened risks for women and girls

with certain blood types. In fact, if a woman or girl with an Rh-negative blood type is

not administered certain medication (Rhogam) at the time of her chemical abortion,

she could experience isoimmunization, which threatens her ability to have future

successful pregnancies. If an Rh-negative woman or girl is left untreated, her future

baby will have a fourteen percent (14%) chance of being stillborn and a fifty percent

(50%) chance of being born alive but suffering neonatal death or brain injury. Around

fifteen percent (15%) of the U.S. population is at risk of this blood condition.11

      67.    Some abortion activists encourage women to lie to an emergency

department doctor by saying they are having a miscarriage if they suffer

complications requiring urgent care.12 If a chemical abortion is miscoded as a

miscarriage in the emergency room (which occurred sixty percent (60%) of the time

in one study), the treating doctor’s lack of knowledge results in the woman or girl




10 Ex. 2, Niinimaki, supra note 6, at 5.
11 Ingrid Skop, The Evolution of “Self-Managed” Abortion: Does the Safety of Women

Seeking Abortion Even Matter Anymore?, Charlotte Lozier Institute (Mar. 1, 2022),
https://lozierinstitute.org/the-evolution-of-self-managed-abortion/.
12 See, e.g., Will a doctor be able to tell if you’ve taken abortion pills?, Women Help

Women (Sept. 23, 2019), https://womenhelp.org/en/page/1093/will-a-doctor-be-able-
to-tell-if-you-ve-taken-abortion-pills (last visited Oct. 10, 2023); How do you know if
you      have    complications     and      what     should    you    do?,    AidAccess,
https://aidaccess.org/en/page/459/how-do-you-know-if-you-have-complications-and-
what-should-you-do (last visited Oct. 10, 2023).


                                           16
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 17 of 105 PageID 5670



being at significantly greater risk of needing multiple hospitalizations and follow-up

surgery.13 Ex. 36, Studnicki Affidavit.

      68.    The risk of chemical abortions is not only physical: women and girls have

described that their chemical abortion experiences harmed their mental health and

left them feeling unprepared, silenced, regretful, or left with no other choice.14

      69.    Some abortionists exacerbate this harm to a woman’s or girl’s mental

health by not adequately informing her about what she will see when she self-

administers chemical abortion drugs at home or in a hotel. For example, one woman

was surprised and saddened to see that her aborted baby “had a head, hands, and

legs” with “[d]efined fingers and toes.”15

      70.    Given the FDA’s refusal to require an ultrasound, abortionists can

egregiously misdate the gestational age of a baby with devastating consequences. One

young woman has alleged that she did not receive an ultrasound or any other physical

examination to determine her baby’s gestational age prior to receiving chemical

abortion drugs from Planned Parenthood.16 The abortionist misdated the baby’s




13 Ex. 5, James Studnicki et al., A Post Hoc Exploratory Analysis: Induced Abortion

Complications Mistaken for Miscarriage in the Emergency Room are a Risk Factor for
Hospitalization, Health Servs. Rsch. & Managerial Epidemiology, May 20, 2022.
14 Ex. 6, Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case

Study to Understand the Communicative Tensions in Women’s Medication Abortion
Narratives, 36 Health Commc’n 1485 (2021).
15 Caroline Kitchener, Covert network provides pills for thousands of abortions in U.S.

post Roe, Wash. Post: Politics (Oct. 18, 2022, 6:00 am),
https://www.washingtonpost.com/politics/2022/10/18/illegal-abortion-pill-network/.
16 Complaint at 9, Doe v. Shah, No. 501531/2021, (Sup. Ct. of N.Y., Cnty. of Kings

Jan. 20, 2021), https://www.liveaction.org/news/wp-content/uploads/2022/10/Kings-
Co-501531_2021_JANE_DOE_v_MEERA_SHAH.pdf.


                                             17
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 18 of 105 PageID 5671



gestational age as six weeks, resulting in the at-home delivery of a “lifeless, fully-

formed baby in the toilet,” later determined to be around 30-36 weeks old.17 Because

of this chemical abortion, the woman “has endured significant stress, trauma,

emotional anguish, physical pain, including laceration and an accelerated labor and

delivery unaided by medication, lactation, soreness, and bleeding.”18

III.   The FDA’s Authority to Review, Approve, or Deny New Drug
       Applications

       71.      The FDA’s approval of new drugs must comply with federal laws and

regulations that directly govern the agency, in addition to other laws that broadly

govern the federal government’s actions. Specifically, the FDA must comply with the

Federal Food, Drug, and Cosmetic Act (FFDCA), the Pediatric Research Equity Act

of 2003 (PREA), and the agency’s regulations. When taking regulatory action on new

drugs, the FDA must also meet the requirements of other federal laws restricting the

distribution of certain drugs.19

       A.       New Drug Applications Under the Federal Food, Drug, and
                Cosmetic Act

       75.      Under the FFDCA, anyone seeking to introduce into commerce and

distribute any new drug in the United States must first obtain the FDA’s approval by

filing a new drug application (NDA). 21 U.S.C. § 355(a).




17 Id. at 10–11.
18 Id. at 11.
19 For a general overview of the FDA’s drug approval process, see How FDA Approves

Drugs and Regulates Their Safety and Effectiveness, Congressional Research Service
(May 8, 2018), https://crsreports.congress.gov/product/pdf/R/R41983.


                                         18
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 19 of 105 PageID 5672



      76.    A drug may be considered “new” by reason of the “newness of use of such

drug in diagnosing, curing, mitigating, treating, or preventing a disease, or to affect

a structure or function of the body, even though such drug is not a new drug when

used in another disease or to affect another structure or function of the body.” 21

C.F.R. § 310.3(h)(4). A drug may also be considered “new” by reason of the “newness

of a dosage, or method or duration of administration or application, or other condition

of use prescribed, recommended, or suggested in the labeling of such drug, even

though such drug . . . is not a new drug.” Id. § 310.3(h)(5).

      77.    The NDA must contain extensive scientific data showing the safety and

effectiveness of the drug. 21 U.S.C. § 355(d); 21 C.F.R. § 314.125.

      78.    Under the FFDCA, the FDA must reject an application if the clinical

investigations “do not include adequate tests by all methods reasonably applicable to

show whether or not such drug is safe for use under the conditions prescribed,

recommended, or suggested in the proposed labeling thereof.” 21 U.S.C. § 355(d); 21

C.F.R. § 314.125(b)(2).

      79.    The FDA must also reject an application if “the results of such tests show

that such drug is unsafe for use under such conditions or do not show that such drug

is safe for use under such conditions.” 21 U.S.C. § 355(d); 21 C.F.R. § 314.125(b)(3).

      80.    The FDA shall refuse an application if, based upon information

submitted to the agency or upon the basis of any other information before the agency,

the FDA “has insufficient information to determine whether such drug is safe for use

under such conditions.” 21 U.S.C. § 355(d); 21 C.F.R. § 314.125(b)(4).




                                            19
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 20 of 105 PageID 5673



      81.      Finally, the FDA must deny an application if “there is a lack of

substantial evidence that the new drug will have the effect it purports or is

represented to have under the conditions of use prescribed, recommended, or

suggested in the proposed labeling thereof.” 21 U.S.C. § 355(d); 21 C.F.R.

§ 314.125(b)(5).

      82.      The FFDCA defines “substantial evidence” as “evidence consisting of

adequate and well-controlled investigations, including clinical investigations, by

experts qualified by scientific training and experience to evaluate the effectiveness of

the drug involved, on the basis of which it could fairly and responsibly be concluded

by such experts that the drug will have the effect it purports or is represented to have

under the conditions of use prescribed, recommended, or suggested in the labeling or

proposed labeling thereof.” 21 U.S.C. § 355(d).

      83.      If a sponsor of an approved drug subsequently seeks to change the

labeling, market a new dosage or strength of the drug, or change the way it

manufactures a drug, the company must submit a supplemental new drug application

(sNDA) seeking the FDA’s approval of such changes. 21 U.S.C. § 355(b); 21 C.F.R.

§§ 314.54, 314.70.

      84.      Only the sponsor “may submit a supplement to an application.” 21 C.F.R.

§ 314.71(a).

      85.      “All procedures and actions that apply to an application under [21

C.F.R.] § 314.50 also apply to supplements, except that the information required in

the supplement is limited to that needed to support the change.” 21 C.F.R.§ 314.71(b);




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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 21 of 105 PageID 5674



see also 21 C.F.R. § 314.54(a) (“application need contain only that information needed

to support the modification(s) of the listed drug”).

      86.    The sNDA must also show that the drug is safe and effective for “the

conditions of use prescribed, recommended, or suggested in the proposed labeling.” 21

U.S.C. § 355(d).

      87.    The FFDCA allows a generic drug manufacturer to submit an

abbreviated new drug application (ANDA) for approval to introduce into commerce

and to distribute a generic version of an approved drug. 21 U.S.C. § 355(j).

      88.    In the ANDA, the generic drug manufacturer must show, among other

things, that (a) the conditions of use prescribed, recommended, or suggested in the

labeling proposed for the new drug have been previously approved for a drug listed

and (b) the drug product is chemically the same as the already approved drug,

allowing it to rely on the FDA’s previous finding of safety and effectiveness for the

approved drug. The route of administration, dosage form, and strength must also be

the same. 21 U.S.C. § 355(j); 21 C.F.R. § 314.94.

      B.     Assessments on Pediatric Populations

      89.    In 1998, the FDA issued a regulation, called the Pediatric Rule,

requiring an assessment specifically powered to determine the safety and

effectiveness of a new drug on pediatric patients.20 This rule allowed for full or partial




20 Ex. 7, Regulations Requiring Manufacturers to Assess the Safety and Effectiveness

of New Drugs and Biological Products in Pediatric Patients, 63 Fed. Reg. 66,632 (Dec.
2, 1998).


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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 22 of 105 PageID 5675



waivers of its pediatric assessment requirements, set forth under then 21 C.F.R.

§ 314.55(c).

       90.     A federal district court subsequently held that the FDA had exceeded its

statutory authority when issuing the Pediatric Rule and thus enjoined the FDA from

enforcing the regulation. See Ass’n of Am. Physicians & Surgeons v. FDA, 226 F.

Supp. 2d 204 (D.D.C. 2002).

       91.     In response, President George W. Bush and Congress enacted PREA to

codify the Pediatric Rule legislatively. This law expressly requires studies on the

safety and effectiveness of drugs intended for pediatric populations, unless certain

exceptions apply. The FDA may require an assessment on the drug’s safety and

effectiveness, extrapolate findings from studies on adult populations, or waive the

assessment for pediatric populations. 21 U.S.C. § 355c.

       92.     In general, PREA requires an application or supplement to an

application for a drug to include an assessment on the safety and effectiveness of the

drug for the claimed indications in all relevant pediatric subpopulations. 21 U.S.C.

§ 355c(a)(2)(A)(i). This assessment must also support dosing and administration for

each pediatric subpopulation for which the drug is safe and effective. 21 U.S.C.

§ 355c(a)(2)(A)(ii).

       93.     Under limited circumstances, PREA allows the FDA to avoid this

assessment and, instead, extrapolate the safety and effectiveness of a drug for

pediatric populations: “If the course of the disease and the effects of the drug are

sufficiently similar in adults and pediatric patients, the [FDA] may conclude that




                                           22
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 23 of 105 PageID 5676



pediatric effectiveness can be extrapolated from adequate and well-controlled studies

in adults, usually supplemented with other information obtained in pediatric

patients.” 21 U.S.C. § 355c(2)(B)(i) (emphasis added).

      94.    To   support    this   extrapolation,   the   FDA    must    include   “brief

documentation of the scientific data supporting the conclusion” that the course of the

disease and the effects of the drug are sufficiently similar in adults and pediatric

patients. 21 U.S.C. § 355c(B)(iii) (emphasis added).

      95.    In addition, PREA also allows the FDA to grant a full or partial waiver

of the requirement for pediatric assessments or reports on the investigation for a drug

if one of the following situations exists: (1) “necessary studies are impossible or highly

impracticable”; (2) “there is evidence strongly suggesting that the drug or biological

product would be ineffective or unsafe in all pediatric age groups”; or (3) the drug

“does not represent a meaningful therapeutic benefit over existing therapies for

pediatric patients” and it “is not likely to be used in a substantial number of pediatric

patients.” 21 U.S.C. § 355c(a)(5)(A), (B)

      96.    PREA also deemed a waiver or deferral issued under the Pediatric Rule

between April 1, 1999, and December 3, 2003, to be a waiver or deferral under 21

U.S.C. § 355c(a). 21 U.S.C. § 355c note.

C.    Subpart H Regulations for Accelerated Approval of Certain New
      Drugs for Serious and Life-Threatening Illnesses

      97.    Both the FFDCA and PREA serve as the primary laws governing the

FDA’s review and approval of new drugs. The FDA has also implemented certain




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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 24 of 105 PageID 5677



regulations to effectuate its legal obligations under these laws and to address certain

public health crises over the years.

      98.      For example, on December 11, 1992, the FDA published the final rule,

“New Drug, Antibiotic, and Biological Drug Product Regulations; Accelerated

Approval.”21

      99.      This final rule established procedures “under which FDA will accelerate

approval of certain new drugs and biological products for serious or life-threatening

illnesses, with provision for required continued study of the drugs’ clinical benefits

after approval or for restrictions on distribution or use, where those are necessary for

safe use of the drugs.”22

      100.     The FDA intended these procedures “to provide expedited marketing of

drugs for patients suffering from such illnesses when the drugs provide a meaningful

therapeutic advantage over existing treatment.”23

      101. As codified under Subpart H, the FDA defined the scope of the new
regulations:

      This subpart applies to certain new drug products that have been studied for
      their safety and effectiveness in treating serious or life-threatening illnesses
      and that provide meaningful therapeutic benefit to patients over existing
      treatments (e.g., ability to treat patients unresponsive to, or intolerant of,
      available therapy, or improved patient response over available therapy).

21 C.F.R. § 314.500 (emphasis added).




21 Ex. 8, New Drug, Antibiotic, and Biological Drug Product Regulations; Accelerated

Approval, 57 Fed. Reg. 58,942 (Dec. 11, 1992).
22 Id. (emphasis added).
23 Id. (emphasis added).



                                          24
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 25 of 105 PageID 5678



      102.   If the FDA’s review under Subpart H concludes that a drug is effective

but can be safely used only if distribution or use is restricted, then the agency must

“require such postmarketing restrictions as are needed to assure safe use of the drug

product.” 21 C.F.R. § 314.520(a).

      103.   Such restrictions may include distribution (1) “restricted to certain

facilities or physicians with special training or experience” or (2) “conditioned on the

performance of specified medical procedures.” 21 C.F.R. § 314.520(a)(1), (2).

      104.   The limitations must “be commensurate with the specific safety

concerns presented by the drug product.” 21 C.F.R. § 314.520(b).

              Under 21 C.F.R. § 314.530, the FDA may withdraw approval of drugs

approved under Section 314.520 if:

              (1) A postmarketing clinical study fails to verify clinical benefit;

              (2) The applicant fails to perform a required postmarketing study
                  with due diligence;

              (3) Use after marketing demonstrates that postmarketing
                  restrictions are inadequate to assure safe use of the drug product;

              (4) The applicant fails to adhere to the postmarketing
                  restrictions agreed upon;
              (5) The promotional materials are false or misleading; or

              (6) Other evidence demonstrates that the drug product is not shown
                  to be safe or effective under its conditions of use.

      106.   The FDA’s preamble to the Subpart H rulemaking stated that “[t]he

burden is on the applicant to ensure that the conditions of use under which the

applicant’s product was approved are being followed.”24


24 Ex. 8, 57 Fed. Reg. at 58,953.



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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24            Page 26 of 105 PageID 5679



       107.   The only way the FDA can terminate an applicant’s Subpart H

restrictions is to notify the applicant that “the restrictions . . . no longer apply” because

the “FDA [has] determine[d] that safe use of the drug product can be assured through

appropriate labeling.” 21 C.F.R. § 314.560.

       D.     Drugs Approved with Previous Subpart H Restrictions Deemed
              to have Risk Evaluation and Mitigation Strategies

       108.   Congress decided to codify into law the FDA’s postmarketing regulations

under Subpart H when it enacted the Food and Drug Administration Amendments

Act of 2007 (FDAAA) and created a new section of the FFDCA under 21 U.S.C. § 355-

1. This new section authorizes the FDA to require persons submitting certain new

drug applications to submit and implement a risk evaluation and mitigation strategy

(REMS) if the FDA determines that a REMS is “necessary to ensure that the benefits

of a drug outweigh the risks of the drug.” 21 U.S.C. § 355-1(a).

       109.   Section 909(b)(1) of the FDAAA specified that a “drug that was approved

before the effective date of this Act is . . . deemed to have in effect an approved [REMS]

. . . if there are in effect on the effective date of this Act elements to assure safe use

[pursuant to Subpart H, 21 C.F.R. § 514.520].” H.R. 3580, 110th Cong. (2007). Thus,

if the FDA previously attached postmarketing restrictions on a drug approved under

Subpart H, the FDAAA converted those restrictions into a REMS.

       110.   Under the FDAAA, to allow safe access to drugs with known serious

risks, the FDA may require that the REMS “include such elements as are necessary

to assure safe use of the drug, because of its inherent toxicity or potential

harmfulness” if the agency determines that the drug “is associated with a serious



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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 27 of 105 PageID 5680



adverse drug experience.” 21 U.S.C. § 355-1(f)(1).

       111.   These “Elements to Assure Safe Use” (ETASU) may require

(1) prescribers of the drug “have particular training or experience” or be “specially

certified,” (2) practitioners or health care settings that dispense the drug be “specially

certified,” (3) doctors dispense the drug to patients “only in certain health care

settings, such as hospitals,” (4) doctors dispense the drug to patients “with evidence

or other documentation of safe-use conditions, such as laboratory test results,”

(5) each patient be subject to “certain monitoring,” and (6) each patient be enrolled in

a “registry.” 21 U.S.C. § 355-1(f)(3).

       112.   The FDA may also require an applicant to monitor and evaluate

implementation of the REMS, in addition to working to improve those elements. 21

U.S.C. § 355-1(g).

       113.   The FDA may also include a communication plan to health care

providers as part of the REMS to disseminate certain information about the drug and

its risks. 21 U.S.C. § 355-1(e)(3).

       114.   An applicant “may propose the addition, modification, or removal of [the

REMS] . . . and shall include an adequate rationale to support such proposed addition,

modification, or removal.” 21 U.S.C. § 355-1(g)(4)(A).

IV.    Federal Laws Restrict Distribution of Chemical Abortion Drugs

       115.   Two federal laws restrict the distribution of abortion-inducing drugs. 18

U.S.C. §§ 1461–62. These laws apply to both upstream and downstream distribution.

Id.




                                           27
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 28 of 105 PageID 5681



       116.    First, 18 U.S.C. § 1461 prohibits the use of postal “mails” to convey or

 deliver chemical abortion drugs. Specifically, it prohibits the mailing or delivery by

 any letter carrier of “[e]very article or thing designed, adapted, or intended for

 producing abortion” and “[e]very article, instrument, substance, drug, medicine, or

 thing, which is advertised or described in a manner calculated to lead to another to

 use or apply it for producing abortion.”

       117.    Second, 18 U.S.C. § 1462 broadly prohibits the use of “any express

company or other common carrier” to transport abortion drugs in interstate or foreign

commerce. Specifically, it prohibits the use of any express company or common carrier

to distribute “any drug, medicine, article, or thing designed, adapted, or intended for

producing abortion.”

V.     The FDA’s Review of the Population Council’s Application to Market
       Chemical Abortion Drugs in the United States

       118.    The French pharmaceutical company Roussel Uclaf S.A. first developed

and tested mifepristone under the name RU-486. By April 1990, the drug had become

fully available in France.25

       119.    But Roussel Uclaf’s German parent company, Hoechst AG, prohibited

the drug manufacturer from attempting to enter the U.S. market and filing a new

drug application with the FDA.26 Hoechst’s resistance and desire to keep a low profile

was due, in part, to its corporate history and complicity in previous mass genocide.27



25 Ex. 9, 2002 Citizen Petition at 7–8.
26 Id. at 8.
27 Julie A. Hogan, The Life of the Abortion Pill in the United States, at 23–24 (2000),

http://nrs.harvard.edu/urn-3:HUL.InstRepos:8852153 (“Hoechst traces its corporate


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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 29 of 105 PageID 5682



      120.   Nevertheless, on January 22, 1993—his second full day in office—

President Bill Clinton directed then-HHS Secretary Donna Shalala to assess

initiatives to promote the testing and licensing of RU-486 in the United States.28

      121.   According to a Roussel Uclaf official, President Clinton also wrote to

Hoechst asking the company to file a new drug application with the FDA, which

Hoechst refused to do.29

      122.   In early 1993, as HHS later reported, Secretary Shalala and then-FDA

Commissioner David Kessler likewise “communicated with senior Roussel Uclaf

officials to begin efforts to pave the way for bringing RU-486 into the American

marketplace.”30

      123.   Specifically, according to HHS, “[i]n April 1993, representatives of FDA,

Roussel Uclaf and the Population Council, a not-for-profit organization, met to discuss

U.S. clinical trials and licensing of RU-486.” Between April 1993 and May 1994, the

parties continued their negotiations.31

      124.   “The Population Council is a nonprofit founded in 1952 by John D.

Rockefeller III to address supposed world overpopulation. [Rockefeller] served as the




history to I.G. Farben, the manufacturer of Zyklon-B, which was used in the gas
chambers of Auschwitz,” and therefore “did not want to be credited with doing to
fetuses what the Nazis had done to the Jews.”).
28 Ex. 9, 2002 Citizen Petition at 8.
29 Id.
30 Id. (quoting HHS Fact Sheet, Mifepristone (RU-486): Brief Overview (May 16,

1994)).
31 HHS Fact Sheet, Mifepristone (RU-486): Brief Overview.



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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 30 of 105 PageID 5683



organization’s first president.”32

      125.   The talks between the FDA, the Population Council, and Roussel Uclaf

culminated in what HHS called a “donation”: Roussel Uclaf transferred, “without

remuneration, its United States patent rights to mifepristone (RU-486) to the

Population Council.”33

      126.   After obtaining the American patent rights to mifepristone, the

Population Council conducted clinical trials in the United States.34

      127.   The Population Council then filed a new drug application for

“mifepristone 200 mg tablets” on March 18, 1996.35

      128.   The FDA initially accorded the drug standard review; but in a May 7,

1996 letter, the FDA’s Center for Drug Evaluation and Research notified the

Population Council that mifepristone would receive priority review.36

      129.   On September 18, 1996, the FDA issued a letter stating that the

application was “approvable” and requested more information from the Population

Council.37

      130.   On February 18, 2000, the FDA issued a second “approvable” letter,

setting forth the remaining prerequisites for approval. This letter announced that



32 Population Council, https://www.influencewatch.org/non-profit/population-council/

(last visited Oct. 10, 2023).
33 Ex. 9, 2002 Citizen Petition at 8–9 (quoting HHS Press Release, Roussel Uclaf

Donates U.S. Patent Rights for RU-486 to Population Council, (May 16, 1994)).
34 Id. at 9.
35 Id. at 10.
36 Id.
37 Id. at 10-11.



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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 31 of 105 PageID 5684



the FDA had “considered this application under the restricted distribution

regulations contained in 21 C.F.R. § 314.500 (Subpart H) and [had] concluded that

restrictions as per [21] CFR § 314.520 on the distribution and use of mifepristone

are needed to assure safe use of this product.”38

         131.   The FDA told the Population Council that the agency would proceed

under Subpart H because the FDA “concluded that adequate information has not

been presented to demonstrate that the drug, when marketed in accordance with

the terms of distribution proposed, is safe and effective for use as recommended.”39

         132.   Given the known dangers of chemical abortion drugs, the FDA needed

to approve the Population Council’s application under Subpart H because this

regulatory authority provided the FDA with the only means to restrict the drugs’

distribution and use “to assure safe use.” 21 C.F.R. § 314.520.

         133.   In response to the proposed Subpart H consideration, the Population

Council objected and explained that its application for mifepristone did not fall

within the scope of Subpart H.40

         134.   The Population Council thus wrote a letter to the FDA just three

weeks before the final approval of mifepristone, arguing that “it is clear that the

imposition of Subpart H is unlawful, unnecessary, and undesirable. We ask FDA to

reconsider.”41




38 Ex. 10, FDA Letter to Population Council re: NDA (Feb. 18, 2000) at 5.
39 Id.
40 Ex. 9, 2002 Citizen Petition at 20.
41 Id.



                                           31
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 32 of 105 PageID 5685



         135.   The Population Council stated that “[n]either pregnancy nor

unwanted pregnancy is an illness, and Subpart H is therefore inapplicable for that

reason alone.”42

         136.   Moreover, as the Population Council observed, “[n]either is pregnancy

nor unwanted pregnancy a ‘serious’ or ‘life-threatening’ situation as that term is

defined in Subpart H.”43

         137.   And after quoting the preamble to the FDA’s Subpart H Final Rule, the

Population Council’s letter stated that “[t]he plain meaning of these terms does not

comprehend normal, everyday occurrences such as pregnancy and unwanted

pregnancy.”44

         138.   The letter added that, unlike HIV infection, pulmonary tuberculosis,

cancer, and other illnesses, “pregnancy and unwanted pregnancy do not affect

survival or day-to-day functioning as those terms are used in Subpart H.”45

         139.   The Population Council explained that “although a pregnancy

‘progresses,’” the development of a pregnancy “is hardly the same as the worsening of

a disease that physicians call progression.”46

         140.   Despite these last-minute objections, the Population Council ultimately

ceased its opposition to the FDA’s intention to approve chemical abortion drugs under




42 Id.
43 Id.
44 Id.
45 Id.
46 Id.



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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 33 of 105 PageID 5686



Subpart H on September 15, 2000.47

VI.   The FDA’s Approval of the Population Council’s Application to Market
      Chemical Abortion Drugs in the United States.

      141.   On September 28, 2000, the FDA approved chemical abortion drugs

under Subpart H “for the medical termination of intrauterine pregnancies through

49 days’ pregnancy.”48

      142.   The FDA informed the Population Council that Subpart H “applies when

FDA concludes that a drug product shown to be effective can be safely used only if

distribution or use is restricted, such as to certain physicians with certain skills or

experience.”49

      143.   The FDA would not have been able to approve the chemical abortion

drugs without invoking Subpart H, as it was the only authority available to the

agency to allow it to apply postmarketing restrictions on the drugs.50

      144.   To defend its use of Subpart H, the FDA agency declared that “the

termination of an unwanted pregnancy is a serious condition within the scope of

Subpart H” and asserted that “[t]he meaningful therapeutic benefit over existing

surgical abortion is the avoidance of a surgical procedure.”51



47 Ex. 11, 2000 FDA Approval Memo. to Population Council re: NDA 20-687Mifeprex

(mifepristone) at 6 (Sept. 28, 2000).
48 Ex. 12, 2000 FDA Approval Letter for Mifeprex (mifepristone) Tablets at 1 (Sept.

28, 2000).
49 Ex. 11, 2000 FDA Approval Memo. at 6.
50 Ex. 13, 2003 Citizen Petitioners’ Response to Opposition Comments filed by The

Population Council, Inc. and Danco Laboratories, LLC to Comments at 2–4 (Oct. 10,
2003),      https://www.aaplog.org/wp-content/uploads/2002/08/ResponseToDanco10-
03reRU-486.pdf (2003 Response).
51 Ex. 11, 2000 Approval Memo. at 6



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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 34 of 105 PageID 5687



         145.    The FDA stated that the chemical abortion drugs’ “labeling is now part

of a total risk management program.” In particular, “[t]he professional labeling,

Medication Guide, Patient Agreement, and Prescriber’s Agreement will together

constitute the approved product labeling to ensure any future generic drug

manufacturers will have the same risk management program.”52

         146.    The 2000 approval required the Population Council to include on the

drugs’ label a “black box warning for special problems, particularly those that may

lead to death or serious injury.”53

         147.    The approved regimen in 2000 contained measures to assure safe use,

including requiring at least three office visits: (1) the Day 1 in-person dispensing and

administration of mifepristone; (2) the Day 3 in-person dispensing and

administration of misoprostol; and (3) the Day 14 return to the doctor’s office to

confirm no fetal parts or tissue remain.54

         148.    The FDA explained that “[r]eturning to the health care provider on Day

3 for misoprostol . . . assures that the misoprostol is correctly administered,” and it

“has the additional advantage of contact between the patient and health care provider

to provide ongoing care, and to reinforce the need to return on Day 14 to confirm that

expulsion has occurred.”55

         149.    The FDA’s Subpart H restrictions included the following requirements




52 Id. at 2.
53 Id.
54 Id. at 2–3.
55 Id. at 3.



                                             34
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 35 of 105 PageID 5688



for abortionists: the ability to assess the duration of pregnancy accurately and to

diagnose ectopic pregnancies (chemical abortion drugs cannot end an ectopic

pregnancy, but the symptoms of these drugs resemble hemorrhaging from a life-

threatening ectopic pregnancy56); the requirement to report any hospitalization,

transfusion, or other serious events; and the ability to provide surgical intervention

or to ensure that the patient has access to other qualified physicians or medical

facilities.57

       150.     The FDA’s restrictions on the distribution of mifepristone included:

                •     In-person dispensing from the doctor to the woman or girl;

                •     Secure shipping procedures;

                •     Tracking system ability;

                •     Use of authorized distributors and agents; and

                •     Provision of the drug through a direct, confidential physician

                      distribution system that ensures only qualified physicians will

                      receive the drug for patient dispensing.58

       151.     The FDA did not include prohibitions on the upstream distribution of

the chemical abortion drugs—from the manufacturer or importer to the abortionist—

by mail, express company, or common carrier as proscribed by federal laws, nor did




56 Ex. 14, AAPLOG Statement on FDA removing Mifepristone safety protocols (REMS),

at 2, https://aaplog.org/wp-content/uploads/2021/04/AAPLOG-Statement-on-FDA-
removing-mifepristone-REMS-April-2021-1.pdf.
57 Ex. 11, 2000 Approval Memo. at 6.
58 Id.



                                            35
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 36 of 105 PageID 5689



the FDA acknowledge and address these laws.59

         152.   The FDA also outlined the Population Council’s two post-approval study

commitments.60 The Population Council was to conduct “a monitoring study to ensure

providers who did not have surgical-intervention skills and referred patients for

surgery had similar patient outcomes as those patients under the care of physicians

who possessed surgical skills (such as those in the clinical trial).”61 The Population

Council also agreed “to study ongoing pregnancies and their outcomes through a

surveillance, reporting, and tracking system.”62

         153.   In the 2000 Approval, the FDA informed the Population Council that

the agency was “waiving the pediatric study requirement for this action on this

application.”63 Without explanation of the effects of chemical abortion drugs on

puberty or substantiation of its decision, the FDA asserted that “there is no biological

reason to expect menstruating females under age 18 to have a different physiological

outcome with the regimen.”64

         154.   The FDA nonetheless highlighted the findings of one limited study that

included 51 subjects under 20 years of age. The agency explained that the approved

labeling states that the safety and efficacy for girls under 18 years of age “have not

been studied” because the raw data from this limited study had not been submitted




59 Id.
60 Ex. 12, 2000 Approval Letter at 2–3.
61 Ex. 11, 2000 Approval Memo. at 7.
62 Id.
63 Ex. 12, 2000 Approval Letter at 3.
64 Ex. 11, 2000 Approval Memo. at 7.



                                           36
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 37 of 105 PageID 5690



for review, the pediatric population was not part of the NDA indication, the data on

safety and effectiveness were only reviewed for the indication’s age group (18–35

years of age), and the clinical trials excluded patients younger than 18 years old.65

         155.   The FDA believed it would eventually overcome this data deficiency

 because the Population Council would “collect outcomes in their [post-approval]

 studies of women of all ages to further study this issue”66—even though those studies

 were not designed to evaluate the safety and effectiveness of mifepristone on girls

 under the age of 18 years.

         156.   But the FDA released the Population Council from its obligation to

conduct these studies in 2008.67

         157.   Therefore, since the 2000 Approval, the FDA has continued to allow

pregnant girls of any age to take chemical abortion drugs—despite never requiring a

study specifically designed to determine the safety and effectiveness of these drugs.

         158.   With the FDA approval in hand, the Population Council then granted

Danco Laboratories, LLC (“Danco”), which was incorporated in the Cayman Islands

in 1995, an exclusive license to manufacture, market, and distribute Mifeprex in the

United States.68




65 Id.
66 Id.
67 Ex. 15, 2016 FDA Letter to AAPLOG, Christian Medical & Dental Associations,

and Concerned Women for America denying 2002 Citizen Petition, Docket No. FDA-
2002-P-0364, at 31 (Mar. 29, 2016) (2016 Petition Denial).
68 Ex. 9, 2002 Citizen Petition at 9.



                                           37
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 38 of 105 PageID 5691



 VII. 2002 Citizen Petition

         159.   The FDA’s regulations prohibit a litigant from going straight to court to

challenge the agency’s approval of a new drug. Instead, the FDA’s regulations require

the submission of a “citizen petition” requesting the agency take or refrain from

taking any form of administration action before filing a lawsuit. 21 C.F.R. §§ 10.30,

10.45(b). These regulations allow the FDA to indefinitely delay a final response to a

citizen petition. 21 C.F.R. § 10.30(e)(2)(iv). The FDA’s eventual decision on a citizen

petition constitutes a final agency action for the underlying FDA action and the

related citizen petition, and both are reviewable in the courts under the APA. 21

C.F.R. § 10.45(c).

         160.   In August 2002, AAPLOG and Christian Medical & Dental Associations,

along with the Concerned Women for America, submitted a citizen petition with the

FDA pursuant to 21 C.F.R. §§ 10.30 and 10.35; 21 C.F.R. Part 314, Subpart H

(§§ 314.500–314.560); and Section 505 of the FFDCA (21 U.S.C. § 355).69

         161.   The 2002 Petitioners requested that the FDA impose an immediate stay

of the approval of mifepristone and ultimately revoke the approval, in addition to

requesting a full FDA audit of the underlying clinical studies.70

         162.   The 2002 Petitioners stated that the FDA’s approval of mifepristone in

2000 violated the APA for many reasons, including because it was arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law, given




69 Id. at 1.
70 Id.



                                            38
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 39 of 105 PageID 5692



that (1) the FDA lacked the authority to approve mifepristone under Subpart H and

(2) the FDA incorporated misoprostol as part of the chemical abortion regimen despite

not receiving an sNDA for this new use of the drug.71

       163.     The 2002 Petitioners explained how the 2000 Approval violated Subpart

H because pregnancy, without major complications, is not a “serious or life-

threatening illness” for purposes of this accelerated approval authority. “Thus,

pregnancy is not the kind of exceptional circumstance that falls within the scope of

Subpart H. The fact that the Mifeprex Regimen is intended for healthy women

provides further evidence of this point.”72

       164.     The 2002 Petitioners similarly pointed out that surgical abortions carry

comparatively fewer risks than chemical abortions. Nor does mifepristone “treat a

subset of the female population that is unresponsive to, or intolerant of surgical

abortion.” Indeed, as the 2000 Mifeprex label acknowledged, because “medical

abortion failures should be managed with surgical termination,” abortionists are

expected to make surgical abortion available for any woman or girl who undergoes

chemical abortion.73

       165.     Nor did the clinical trials compare chemical abortion with the existing

“therapy,” surgical abortion, to support a finding of a “meaningful therapeutic benefit

over existing treatments.”74




71 Id. at 18–23, 41–48.
72 Id. at 19.
73 Id. at 21–22.
74 Id. at 37.



                                            39
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 40 of 105 PageID 5693



       166.   The 2002 Petitioners also pointed out that the clinical trials that the

Population Council submitted to support its NDA failed to present “substantial

evidence” that the mifepristone regimen is safe and effective.75

       167.   In fact, as the 2002 Citizen Petition demonstrated, the FDA’s 2000

Approval has endangered women’s lives because it lacked the necessary safeguards

for this dangerous regimen. For instance, the FDA failed to require an ultrasound,

which is necessary both to determine an accurate gestational age of the baby and to

rule out an ectopic pregnancy. The FDA also did not restrict the regimen to physicians

who have received proper training and possess admitting privileges to emergency

facilities. In light of the FDA’s subsequent acknowledgment that women had serious

adverse events since the 2000 Approval, the 2002 Citizen Petition urged the FDA to

“react to these sentinel events because the clinical trials underlying the approval of

the Mifeprex Regimen did not adhere to FDA’s endorsed scientific methodology for

such trials.”76

       168.   What is more, the 2002 Petitioners challenged the 2000 Approval

because the U.S. clinical trial for mifepristone did not mirror the anticipated

conditions of use under the approved label despite the FFDCA’s requirements under

21 U.S.C. § 355(d). Under the conditions of the U.S. clinical trial:

       (a)    the investigators relied on transvaginal ultrasonography (along with

              menstrual history and pelvic examination) to confirm the gestational




75 Id. at 24–41.
76 Id. at 49–71.



                                          40
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24                Page 41 of 105 PageID 5694



                age of each pregnancy and exclude women with ectopic pregnancies;

       (b)      the physicians had experience in performing surgical abortions, were

                trained in the administration of the mifepristone-misoprostol procedure,

                and had admitting privileges at medical facilities that could provide

                emergency care and hospitalization;

       (c)      all patients needed to be within one hour of emergency facilities or the

                facilities of the principal investigator; and

       (d)      women were monitored for four hours for adverse events after taking

                misoprostol.77

       169.     Because the FDA’s 2000 Approval did not require these safeguards for

women and girls using chemical abortion drugs, the 2002 Petitioners reasoned that

the agency should not have extrapolated conclusions about the safety and

effectiveness of chemical abortion drugs under the approved label.78

       170.     The 2002 Citizen Petition also requested that the FDA withdraw the

2000 Approval of the chemical abortion drugs because the sponsor had not been

enforcing the limited restrictions on the use of the drug regimen. Among the

deviations from the approved regimen, physicians were offering chemical abortion

drugs to women with pregnancies beyond the maximum seven weeks and eliminating

the second of the three prescribed visits (i.e., in-facility administration of

misoprostol).79



77 Id. at 75–76.
78 Id. at 76.
79 Id. at 71–75.



                                              41
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 42 of 105 PageID 5695



      171.   Subpart H authorizes the FDA to withdraw approval of a drug approved

under Section 514.520 if “[t]he applicant fails to adhere to the postmarketing

restrictions agreed upon.” 21 C.F.R. § 314.530(a)(4). Because “the burden is on the

applicant to ensure that the conditions of use under which the applicant’s product

was approved are being followed,” the 2002 Petitioners asked the FDA to exercise its

authority to withdraw its approval for mifepristone.80

      172.    The 2002 Petitioners also challenged the FDA’s decision to waive the

agency’s regulatory requirement to conduct a pediatric study—the failure of which

endangered the health and safety of girls—because it did not meet the requirements

for such a waiver.81

      173.    The 2002 Citizen Petition next pointed out that the FDA impermissibly

reduced the Population Councils’ post-approval studies during the final stages of the

FDA’s review in 2000. “Not only did FDA approve the NDA on the basis of clinical

trials so defective with respect to their design and execution as to render them

insufficient to establish short-term safety and effectiveness, but FDA also permitted

the Population Council to substantially pare down the [post-approval] trials that it

would perform.”82

      174.    Finally, the FDA then “compounded its failure to require the Population

Council and Danco to comply with the strictures of the Pediatric Rule when it

permitted them to consider the effect of the Mifeprex Regimen on patients under 18



80 Ex. 9, 2002 Citizen Petition at 75.
81 Id. at 76–83.
82 Id. at 84–85.



                                         42
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 43 of 105 PageID 5696



as part of another study rather than as a separate [post-approval] study.”83 Because

chemical abortion drugs “could conceivably interfere with pubertal development,”

girls under 18 years of age deserve separate consideration in studies with significant

numbers of participants.84

       175.     On October 10, 2003, the 2002 Petitioners filed a response (“2003

Response”) to opposition comments by the Population Council and Danco. The 2003

Response not only responded to these comments, but it also provided the FDA with

additional evidence that the safety and effectiveness of chemical abortion drugs have

not been established in accordance with the requirements of the FFDCA or the FDA’s

own regulations.85

VII.   Implementation of a REMS for Mifepristone

       176.     After receiving the 2002 Citizen Petition, the FDA’s next significant

regulatory action on chemical abortion drugs involved incorporating Congress’s

mandate to convert Subpart H postmarketing restrictions for previously approved

drugs into a REMS.

       177.     As previously discussed, Section 909(b)(1) of the FDAAA specified that

a “drug that was approved before the effective date of this Act is . . . deemed to have

in effect an approved [REMS] . . . if there are in effect on the effective date of this Act

elements to assure safe use [pursuant to 21 C.F.R. § 514.520].”

       178.     In a March 27, 2008 Federal Register notice, the FDA identified



83 Id. at 86.
84 Id. at 86, n. 377.
85 Ex. 13, 2003 Response.



                                            43
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 44 of 105 PageID 5697



chemical abortion drugs as one of “those drugs that FDA has determined will be

deemed to have in effect an approved REMS.”86

      179.   In 2011, pursuant to the 2008 notice, the FDA approved a REMS for

chemical abortion drugs in accordance with section 909(b)(1) of the FDAAA.87

      180.   The FDA “determined that a REMS is necessary for MIFEPREX

(mifepristone) to ensure the benefits of the drug outweigh the risks of serious

complications.”88

      181.   The REMS incorporated the previous Subpart H restrictions and

consisted of a Medication Guide, elements to assure safe use, an implementation

system, and a timetable for submission of assessments of the REMS.89

      182.   The REMS required “prescribers to certify that they are qualified to

prescribe MIFEPREX (mifepristone) and are able to assure patient access to

appropriate medical facilities to manage any complications.” 90

      183.   The FDA also instructed Danco that, “[a]s part of the approval under

Subpart H, as required by 21 CFR § 314.550, you must submit all promotional

materials, including promotional labeling as well as advertisements, at least 30 days

before the intended time of initial distribution of the labeling or initial publication of



86  Ex. 16, Identification of Drug and Biological Products Deemed to Have Risk
Evaluation and Mitigation Strategies for Purposes of the Food and Drug
Administration Amendments Act of 2007, 73 Fed. Reg. 16,313, 16,314 (Mar. 27, 2008).
87 Ex. 17, 2011 FDA Supplemental Approval Letter to Danco Laboratories, LLC at 1

(June 6, 2011) (2011 Approval Letter).
88 Id. at 1.
89 Id. at 1; Ex. 18, 2011 REMS for NDA 20-687 Mifeprex (mifepristone) Tablets,

200mg (June 8, 2011) (2011 REMS).
90 Ex. 17, 2011 Approval Letter at 1; Ex. 30, 2011 REMS.



                                           44
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24                   Page 45 of 105 PageID 5698



the advertisement.”91

 IX.      The FDA’s Denial of the 2002 Citizen Petition

         184.   Almost fourteen years after receiving the 2002 Citizen Petition—on

March 29, 2016—the FDA denied the 2002 Citizen Petition (“2016 Denial”).92

         185.   The    FDA       abused     its    regulatory     authority   under   21   C.F.R.

§ 10.30(e)(2)(iv) to delay a final response to the 2002 Citizen Petition.

         186.   In the 2016 Denial, the FDA asserted that it appropriately approved

chemical abortion drugs under Subpart H because “[a]s FDA made clear in the

preamble to the final rule for subpart H, the subpart H regulations are intended to

apply to serious or life-threatening conditions, as well as to illnesses or diseases.”93

         187.   The FDA further asserted that the Subpart H premable “also made

clear that a condition need not be serious or life-threatening in all populations or in

all phases to fall within the scope of these regulations.”94

         188.   The FDA asserted that “[u]nwanted pregnancy falls within the scope of

subpart H under § 314.500 because unwanted pregnancy, like a number of illnesses

or     conditions,    can   be    serious    for    certain     populations   or   under   certain

circumstances.”95

         189.   The FDA also asserted that chemical abortion “provides a meaningful

therapeutic benefit to some patients over surgical abortion” because chemical



91 Ex. 17, 2011 Approval Letter at 2–3.
92 Ex. 15, 2016 Petition Denial.
93 Id. at 4 (emphasis added).
94 Id.
95 Id.



                                                   45
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 46 of 105 PageID 5699



abortion “provides an alternative to surgical abortion,” which itself can lead to

complications such as “a severe allergic reaction, a sudden drop in blood pressure

with cardiorespiratory arrest, death, and a longer recovery time following the

procedure.”96

       190.     The FDA also asserted that the clinical trials constituted “substantial

evidence” of effectiveness, while contending that the “FDA regulations do not require

that a study be blinded, randomized, and/or concurrently controlled.”97

       191.     The FDA then asserted that its decision not to require studies of

pediatric patients “was consistent with FDA’s implementation of the regulations in

effect at that time.” The agency also asserted that its 2000 Approval “determined that

there were sufficient data from studies of mifepristone.” Even though the 2000

Approval said the FDA was waiving the requirement for a pediatric assessment, the

2016 Petition Denial stated that the 2000 Approval “should have stated our

conclusion that the pediatric study requirements were waived for pre-menarchal

patients and that the pediatric study requirements were met for post-menarchal

pediatric patients, rather than stating that we were waiving the requirements for all

pediatric groups.”98

       192.     In response to the 2002 Citizen Petition’s argument that the FDA’s

inclusion of misoprostol as part of the mifepristone regimen was illegal because the

sponsor of that drug had not submitted an sNDA, the FDA asserted that “[n]either



96 Id. at 5.
97 Id. at 9.
98 Id. at 29.



                                           46
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 47 of 105 PageID 5700



the FD&C Act nor FDA regulations require the submission of a supplemental NDA

by the sponsor of the misoprostol NDA for the use of misoprostol as part of the

approved treatment regimen for Mifeprex.”99

          193.   The FDA provided “[e]xamples of approved drug labeling that refer to

the concomitant use of another drug without there being a specific reference to the

combined therapy in the previously approved labeling for the reference drug.”100 But

the FDA did not purport to provide an example of drug labeling where that second

drug was not approved for the use of the new indication.

 X. The FDA’s 2016 Major Changes to the Mifepristone Regimen

          194.   On the same day that the FDA denied the 2002 Citizen Petition—March

29, 2016—the FDA also approved major changes to the mifepristone regimen (2016

Major Changes) in response to an sNDA that Danco had submitted to the FDA on

May 28, 2015.101

          195.   The FDA acknowledged that the 2000 Approval hinged on necessary

safeguards to protect women and girls from the dangers of chemical abortion drugs.

The FDA’s “Summary Review” of the 2016 Major Changes recalled that “[a]t the time

of the September, 2000 approval, FDA restricted distribution of Mifeprex under 21

CFR 314.520.” After summarizing the history and provisions of the REMS for

mifepristone, the FDA noted that “[t]he REMS for Mifeprex incorporated the




99 Id. at 15.
100 Id.
101 Ex. 19, 2016 FDA Letter to Danco Laboratories re: NDA 020687, Supp 20 (Mar.

29, 2016.


                                           47
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 48 of 105 PageID 5701



restrictions under which the drug was originally approved.”102 But the FDA decided

to remove these crucial protections after reconsidering and reopening the 2000

Approval.

      196.   The FDA acknowledged that “these major changes are interrelated,”

demonstrating the agency’s awareness that each change impacted the others.103

      197.   The 2016 Major Changes included the following revisions to the 2000

Approval’s safeguards for women and girls:

             (a)   extending the maximum gestational age at which a woman or a

                   girl can abort her baby from 49 days to 70 days;

             (b)   altering the mifepristone dosage from 600 mg to 200 mg, the

                   misoprostol dosage from 400 mcg to 800 mcg, and misoprostol

                   administration from oral to buccal (cheek pouch);

             (c)   eliminating the requirement that administration of misoprostol

                   occur in-clinic;

             (d)   broadening the window for misoprostol administration to include

                   a range of 24-48 hours after taking mifepristone, instead of 48

                   hours afterwards;

             (e)   adding a repeat 800 mcg buccal dose of misoprostol in the event

                   of an incomplete chemical abortion;

             (f)   removing the requirement for an in-person follow-up examination



102 Ex.  20, FDA, Center for Drug Evaluation and Research, Summary Review of
Application Number: 020687Orig1s020, at 4 (Mar. 29, 2016) (2016 Summary Review).
103 Id. at 6.



                                        48
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 49 of 105 PageID 5702



                       after an abortion; and

                 (g)   allowing “healthcare providers” other than physicians to dispense

                       and administer the chemical abortion drugs.104

       198.      Despite these major changes to the regimen, the FDA shockingly

eliminated the requirement for prescribers to report all nonfatal serious adverse

events from chemical abortion drugs. Rather than require future adverse-event

reports from abortionists about whether revising the dosages and removing the initial

safeguards harmed women and girls, the FDA simply asserted that “after 15 years of

reporting serious adverse events, the safety profile for Mifeprex is essentially

unchanged.” The FDA at least conceded that “[i]t is important that the Agency be

informed of any deaths with Mifeprex to monitor new safety signals or trends.”105

       199.      As with the 2000 Approval, the 2016 Major Changes did not include

prohibitions on the upstream distribution of chemical abortion drugs by mail, express

company, or common carrier as proscribed by federal laws, nor did the FDA

acknowledge and address these laws.

A.     The FDA’s Evidence for the Safety and Effectiveness of the 2016 Major
       Changes

       200.      The FDA lacked substantial evidence that the 2016 Major Changes

would have the effect it purported or was represented to have under the conditions of

use prescribed, recommended, or suggested in the proposed labeling thereof.

       201.      The FDA’s review and approval did not include a single adequate and



104 Id. at 6–10.
105 Id. at 27.



                                            49
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 50 of 105 PageID 5703



well-controlled investigation that evaluated the safety and effectiveness of

mifepristone and misoprostol under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof.

      202.   Instead, the FDA relied on studies that evaluated only one or just a few

of the major changes that the FDA enacted in 2016; as the FDA acknowledged, “in

some cases data from a given study were relied on to provide evidence to support

multiple changes”106—but no study supported all the changes.

      203.   For example, the FDA relied on a study led by a former longtime

employee of the Population Council to support extending the maximum gestational

age to 70 days, changing the dosing regimen, and authorizing a repeat dose of

misoprostol if the first dose fails.107 In this study, the abortionists (1) confirmed

gestational age (and presumably screened for ectopic pregnancies) “based on routine

ultrasound practices,” (2) required the study participants to return to the study site

7 to 14 days after using mifepristone “for clinical assessment, which included

ultrasonography,” and (3) “intervened surgically if they deemed it medically

necessary or at the patient’s request.”108 But the labeling that the FDA approved with

the 2016 Major Changes did not require (1) an ultrasound to confirm gestational age

or screen for an ectopic pregnancy, (2) an in-person follow-up exam using

ultrasonography, or (3) an ability of abortionists to personally perform surgical




106 Ex. 20, 2016 Summary Review at 6.
107 Ex. 21, Beverly Winikoff et al., Extending Outpatient Medical Abortion Services

Through 70 Days of Gestational Age, 120 Obstetrics & Gynecology 1070 (2012).
108 Id. at 1071.



                                         50
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 51 of 105 PageID 5704



abortion if necessary. Such variations between the study conditions and the approved

labeling fail to comply with the requirements of the FFDCA.

         204.   Moreover, the studies on which the FDA relied for each individual major

change all contained at least one fatal flaw, including one or more of the following

substantial weaknesses: significant loss to follow-up; safeguards not required under

the labeling; small sample size lacking statistical significance; not powered to

evaluate safety; and bias.

         205.   In fact, many of these studies showed that the new chemical abortion

regimen was unsafe for use under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof, or they failed to show that chemical

abortion was safe under such conditions.

         B. The FDA’s Lack of Research on Pediatric Populations for the 2016
            Major Changes

         206.   The FDA’s 2016 Major Changes continued to allow pregnant girls of any

age to use chemical abortion drugs—despite not knowing whether these dangerous

drugs could have an adverse impact on the health, safety, and welfare of developing

girls.

         207.   The FDA did not require Danco to submit an assessment on the safety

and effectiveness of the drug for the claimed indications in all relevant pediatric

subpopulations, nor did the FDA require Danco to submit an assessment that

supported the dosing and administration for each pediatric subpopulation for which




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Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 52 of 105 PageID 5705



the drug is safe and effective.109

       208.   The FDA “granted a partial PREA waiver for pre-menarcheal females

ages birth to 12 years because it would be impossible to conduct studies in this

pediatric population, as pregnancy does not exist in premenarcheal females.” The

FDA then concluded that Danco “fulfilled the remaining PREA requirement in

postmenarcheal females by submitting published studies of Mifeprex for pregnancy

termination in postmenarcheal females less than 17 years old.” The FDA cited three

published studies in support of this conclusion.110

       209.   The primary study on which the FDA relied, Efficacy and safety of

medical abortion using mifepristone and buccal misoprostol through 63 days, by Mary

Gatter and Deborah Nucatola of Planned Parenthood of Los Angeles and Kelly

Cleland of Princeton University’s Office of Population Research, evaluated the

proposed dosing regimen followed by home administration of misoprostol through 63

days’ gestation. The study also included postmenarcheal girls in the study population,

from which the FDA extrapolated its conclusion.111

       210.   For the pediatric population under 18 years of age, the Planned

Parenthood study stated that it had a loss to follow-up of twenty percent (20%).

Therefore, the authors lacked any knowledge of whether these girls died, were




109 Ex. 20, 2016 Summary Review at 18–20.
110 Id. at 18–19.
111 Id. at 19 (citing Ex. 22, Mary Gatter et al., Efficacy and safety of medical abortion

using mifepristone and buccal misoprostol through 63 days, 91 Contraception 269
(2015).


                                           52
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24            Page 53 of 105 PageID 5706



hospitalized, or experienced other serious adverse events.112 The authors also

recognized that “[l]oss to follow-up was significantly higher among the youngest age

group.”113

          211.   The FDA minimized this significant data gap by asserting that “loss to

follow-up was slightly higher in those less than 18 years old.”114 Despite this

significant data gap, the FDA went on to conclude that “age did not adversely impact

efficacy outcomes.”115

          212.   Furthermore, in this study, Planned Parenthood also performed an

ultrasound examination on all females prior to the chemical abortions, in addition to

giving them “routine antibiotic coverage” at the beginning of the chemical abortion

regimen.116 But the FDA did not require any of these safeguards for women and girls

under the 2016 Major Changes.

          213.   The FDA did not address or discount any potential conflict of interest or

bias in the study—despite the study disclosing that Planned Parenthood Federation

of America provided funding for the study. Nor did the FDA address or discount any

potential conflict of interest or bias in the study even though its authors, Mary




112 Ex. 22, Gatter at 4–5.
113 Id. (emphasis added).
114 Ex. 20, 2016 Summary Review at 19 (emphasis added).
115 Id.
116 Ex. 22, Gatter at 2.



                                             53
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 54 of 105 PageID 5707



Gatter117 and Deborah Nucatola,118 had significant incentives to increase their

income and Planned Parenthood’s profits through abortion-related actions outside of

performing surgical abortion.119

      214.   A second study that the FDA cited in support of its PREA conclusion

was based on a nationwide registry of induced abortions and hospital-register data in

Finland.120 For the adolescent cohort who had chemical abortions, the study found

that 12.8% experienced hemorrhaging, 7.0% had incomplete abortions, and 11.0%

needed surgical evacuation of “retained products of conception.”121 Because these

statistics were similar to those of the adult cohort, the FDA found these statistics

“reassuring” to support the safety profile of chemical-abortion drugs for a pediatric

population.122

      215.   The third and final study that the FDA cited in support of its PREA



117 See, e.g., The Center for Medical Progress, Second Planned Parenthood Senior

Executive Haggles Over Body Parts Prices, Changes Abortion Methods, YouTube (July
21, 2015), https://www.youtube.com/watch?v=MjCs_gvImyw (video capturing Gatter
saying she “want[s] a Lamborghini” when discussing the price that she would charge
for selling intact aborted fetal body parts).
118 See, e.g., The Center for Medical Progress, Planned Parenthood Uses Partial-Birth

Abortions       to    Sell     Baby      Parts,     YouTube      (July     14,   2015),
https://www.youtube.com/watch?v=jjxwVuozMnU (video capturing Nucatola stating
that Planned Parenthood affiliates would be “happy” selling intact aborted fetal body
parts for a “reasonable” price that is “a little better than break even”).
119 The Fifth Circuit has recognized the overall authenticity and veracity of the

undercover videos capturing Planned Parenthood’s desire to profit from the
trafficking of aborted fetal body parts. See Planned Parenthood of Greater Tex. Family
Planning & Preventative Health Servs., Inc. v. Smith, 913 F.3d 551, 559 n. 6 (5th Cir.
2019), on reh’g en banc sub nom. Planned Parenthood of Greater Tex. Fam. Plan. &
Preventative Health Servs., Inc. v. Kauffman, 981 F.3d 347 (5th Cir. 2020).
120 Ex. 20, 2016 Summary Review at 19–20 (citing Ex. 2, Niinimaki, supra note 6).
121 Ex. 2, Niinimaki, supra note 6 at 3–4.
122 Ex. 20, 2016 Summary Review at 20.



                                          54
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 55 of 105 PageID 5708



conclusion was a study of 28 adolescents, ages 14 to 17 years old, with pregnancies

under 57 days’ gestation.123 Even though the authors of this study cautioned that a

larger study was needed to make any generalizable conclusions for pediatric

populations, the FDA likewise found this small study “reassuring.”124

       216.      The FDA did not require any studies on the long-term effects of chemical

abortion drugs in pediatric populations with developing reproductive systems.

X.     2019 Citizen Petition

       217.      In response to the 2016 Major Changes, on March 29, 2019, the

AAPLOG and American College of Pediatricians (2019 Petitioners) submitted to the

FDA a citizen petition (2019 Citizen Petition) pursuant to 21 C.F.R. §§ 10.30 and

10.35; 21 C.F.R. Part 314, Subpart H (§§ 314.500–314.560); and Section 505 of the

FFDCA (21 U.S.C. § 355). The 2019 Petitioners asked the FDA to (1) “restore and

strengthen elements of the Mifeprex regimen and prescriber requirements approved

in 2000” and, in the event that the FDA denied that request, (2) “retain the Mifeprex

Risk Evaluation and Mitigation Strategy (REMS), and continue limiting the

dispensing of Mifeprex to patients in clinics, medical offices, and hospitals, by or

under the supervision of a certified prescriber.”125

       218.      The 2019 Citizen Petition asked the FDA to take the following actions

to restore and strengthen elements of the chemical-abortion-drug regimen and

prescriber requirements approved in 2000 to protect the health, safety, and welfare



123 Id. at 19.
124 Id. at 20.
125 Ex. 23, 2019 Citizen Petition of AAPLOG to FDA (Mar. 29, 2019).



                                             55
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24     Page 56 of 105 PageID 5709



of women and girls:

            •     Reduce the maximum gestational age from 70 days to 49 days;

            •     Limit the ability to prescribe and dispense chemical abortion

                  drugs to qualified, licensed physicians—not other “healthcare

                  providers”;

            •     Mandate certified abortionists be physically present when

                  dispensing chemical abortion drugs;

            •     Require that the prescriber perform an ultrasound to assess

                  gestational age, identify ectopic pregnancies, ensure compliance

                  with FDA restrictions, and adequately inform the woman of

                  gestational age-specific risks, which rise with increasing

                  gestational age;

            •     Restore the requirement for in-person administration of

                  misoprostol;

            •     Restore the requirement for an in-person follow-up visit to

                  confirm abortion and rule out life-threatening infection through

                  clinical examination or ultrasonographic scan;

            •     Restore the 2000 label language that stated that chemical

                  abortion drugs are contraindicated if a woman lacks adequate

                  access to emergency medical care; and

            •     Restore the prescriber reporting requirements for all serious

                  adverse events, including any deaths, hospitalizations, blood




                                       56
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 57 of 105 PageID 5710



                       transfusions, emergency room visits, failures requiring surgical

                       completion, ongoing pregnancy, or other major complications

                       following the chemical abortion regimen.126

          219.   The 2019 Petitioners also asked the FDA to require a formal study of

outcomes for at-risk populations, including the pediatric female population, patients

with repeat chemical abortions, patients who have limited access to emergency room

services, and patients who self-administer misoprostol.127

          220.   The 2019 Citizen Petition explained that “[t]he developmental stage of

puberty involves a complex interplay of both progesterone and estrogen effects on the

developing female reproductive system.” Therefore, “[t]he use, and especially the

potential multiple use, of Mifeprex, which is a powerful progesterone blocker, is likely

to significantly impact the developing reproductive system of the adolescent

female.”128

          221.   If the FDA refused to restore and strengthen the chemical abortion

regimen and prescriber requirements approved in 2000, the 2019 Citizen Petition

requested that the FDA retain the mifepristone REMS and continue limiting the

dispensing of mifepristone to clinics, medical offices, and hospitals, by or under the

supervision of a certified prescriber. In other words, the FDA should do no further

harm to the few remaining safeguards for women and girls who undergo the chemical




126 Id.
127 Id. at 13–14.
128 Id.



                                            57
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 58 of 105 PageID 5711



abortion drug regimen.129

       222.   In particular, the 2019 Petitioners explained that eliminating or

relaxing the REMS to facilitate internet or telephone prescriptions would be

dangerous to women and girls.130 The 2019 Citizen Petition also raised concerns

about dispensing from a pharmacy instead of a clinical facility.131

       223.   The 2019 Citizen Petition provided the FDA with detailed analysis and

data to support these requests.

XII.   The FDA’s Approval of a Generic Version of Mifeprex and a Single,
       Shared System REMS

       224.   On April 11, 2019, the FDA approved GenBioPro, Inc.’s132 generic

version of Mifeprex, “Mifepristone Tablets, 200 mg” (2019 ANDA Approval). The FDA

determined GenBioPro’s Mifepristone Tablets, 200 mg, “to be bioequivalent and,

therefore, therapeutically equivalent to the reference listed drug (RLD), Mifeprex

Tablets, 200 mg, of Danco Laboratories, LLC.” GenBioPro’s generic version of

mifepristone has the same labeling and REMS as does Danco’s Mifeprex.133

       225.   On the same day, the FDA approved modifications to the existing

REMS for chemical abortion drugs to establish a single, shared system REMS for




129 Id. at 14–25.
130 Id. at 18–20.
131 Id. at 20–23.
132 GenBioPro, Inc. is located at 3651 Lindell Road, Suite D1041, Las Vegas, Nevada.

https://www.dnb.com/business-
directory/companyprofiles.genbiopro_inc.f925af03300887aacd053afe151fefb2.html.
133 Ex. 24, 2019 FDA ANDA Approval Letter to GenBioPro, Inc. (Apr. 11, 2019),

https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2019/091178Orig1s000ltr
.pdf.


                                          58
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 59 of 105 PageID 5712



mifepristone products for the “medical termination of intrauterine pregnancy,” thus

allowing the FDA to have a uniform REMS for the chemical abortion drugs that two

companies were now marketing. The FDA did not make any substantive

modifications to the REMS approved in 2016.134

XIII. 2020 ACOG-SMFM Letter to the FDA

      226.   On April 20, 2020, the American College of Obstetricians and

Gynecologists (ACOG) and the Society for Maternal-Fetal Medicine (SMFM) sent a

joint letter (2020 ACOG-SMFM Letter), rather than a citizen petition, to the FDA

asking the agency to remove in-person dispensing requirement for mifepristone

during the COVID-19 pandemic and instead allow dispensing by mail or mail-order

pharmacy.135

      227.     Following the letter, in May 2020, ACOG and others filed suit to enjoin

the FDA’s in-person dispensing requirement for mifepristone during the pandemic.

Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183 (D. Md. 2020).

      228.   The district court granted a nationwide preliminary injunction and

lifted the in-person dispensing requirement for the pandemic. Id. at 233, order

clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020). The Fourth Circuit refused to

stay the injunction. Court Order Denying Motion for Stay Pending Appeal, Am. Coll.

of Obstetricians & Gynecologists v. FDA, No. 20-1824 (4th Cir. Aug. 13, 2020), ECF



134 Ex. 25, 2019 FDA Supplemental Approval Letter to Danco Laboratories, LLC (Apr.

11, 2019), Supplement Approval, https://www.accessdata.fda.gov/drugsatfda_
docs/appletter/2019/020687Orig1s022ltr.pdf.
135 Ex. 26, 2020 Letter from ACOG and SMFM, to FDA about Mifepristone REMS

(Apr. 20, 2020) (2020 ACOG-SMFM Letter).


                                          59
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 60 of 105 PageID 5713



No. 30.

      229.    The FDA then filed for an emergency stay of the injunction with the

U.S. Supreme Court. On January 12, 2021, the U.S. Supreme Court granted the FDA

an emergency stay of the district court’s injunction.136

XIV. 2021 FDA Letter in Response to 2020 ACOG-SMFM Letter

      230.   President Joe Biden took office just eight days later. Acting under new

management, the FDA responded to the 2020 ACOG-SMFM letter on April 12, 2021,

and stated that the agency “intends to exercise enforcement discretion” during the

COVID pandemic with respect to the in-person dispensing requirement of the REMS

for mifepristone (2021 Non-Enforcement Decision).137

      231.    The FDA’s 2021 Non-Enforcement Decision relied, in part, on the

supposed lack of reported adverse events caused by chemical abortion drugs occurring

between January 2020 and January 2021—despite the agency’s elimination of non-

fatal reporting requirements for abortionists in 2016. Nevertheless, in 2021, the FDA

still “found that the small number of adverse events reported to FDA during the

COVID-19 public health emergency (PHE) provided no indication that any program

deviation or noncompliance with the Mifepristone REMS Program contributed to the

reported adverse events.”138

      232.   The FDA’s 2021 Non-Enforcement Decision neither acknowledged nor




136 FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (2021).
137 Ex. 27, 2021 FDA Letter to ACOG and SMFM About Mifepristone REMS, at 2

(Apr. 12, 2021) (2021 Non-Enforcement Decision).
138 Id.



                                          60
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 61 of 105 PageID 5714



addressed the federal laws expressly prohibiting the distribution of mifepristone by

mail, express company, or common carrier—despite explicitly recognizing that this

action would allow “dispensing of mifepristone through the mail . . . or through a

mail-order pharmacy.”139

 XV. 2021 “Minor” Changes

          233.   On May 14, 2021, the FDA approved “minor” changes to the Patient

Agreement Form to use “gender neutral language,” replacing the pronouns “she” and

“her” with “the patient.” The FDA made similar revisions to the REMS document to

reflect the removal of the gender-specific pronouns in the Patient Agreement Form.140

          234.   Despite these changes, the FDA did not require Danco to submit studies

showing the safety and effectiveness of chemical abortion on women and girls who

may be taking puberty blockers, testosterone injections, or other hormones in

addition to the chemical abortion drugs.

XVI. The FDA’s December 2021 Announcement of Further Reductions in
     Safeguards

          235.   On December 16, 2021, Defendant Cavazonni, Director of the FDA’s

Center for Drug Evaluation and Research, wrote a letter to Graham Chelius, M.D.,

of the Society of Family Planning and the California Academy of Family Physicians

to inform him that the FDA had completed its review of the REMS for mifepristone.141


139 Id.
140 Ex. 28, FDA Supplemental Approval Letter to Danco Laboratories, LLC (May

14,2021),
https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2021/020687Orig1s024ltr
.pdf.
141 Ex. 29, 2021 FDA Center for Drug Evaluation & Research Director Patrizia

Cavazzoni Letter to Dr. Graham Chelius (Dec. 16, 2021).


                                            61
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 62 of 105 PageID 5715



          236.   Although the FDA “determined that the Mifepristone REMS Program

continues to be necessary to ensure that the benefits of the drug outweigh the risks,”

the agency “determined that it must be modified to minimize the burden on the health

care delivery system of complying with the REMS and to ensure that the benefits of

the drug outweigh the risks.”142

          237.   The letter identified specific new modifications to the REMS:

“(1) removing the requirement that mifepristone be dispensed only in certain

healthcare settings, specifically clinics, medical offices, and hospitals (i.e., the ‘in-

person dispensing requirement’); and (2) adding a requirement that pharmacies that

dispense the drug be specially certified,” signaling that the FDA will soon allow

pharmacies to dispense chemical abortion drugs.143

          238.   Defendant Cavazzoni also noted that the FDA had answered the

“related” 2019 Citizen Petition and would post the agency’s response in the public

docket.144

 XVII. The FDA’s Denial and Granting of the 2019 Citizen Petition

          240.   Accordingly, on December 16, 2021—the same day that Defendant

Cavazzoni sent the letter to Dr. Chelius and over 2.5 years after receiving the 2019

Citizen Petition—the FDA denied in part and granted in part the 2019 Citizen

Petition (2021 FDA Response).145



142 Id.
143 Id.
144 Id.
145 Ex. 30, 2021 FDA Letter to AAPLOG and Am. Coll. of Pediatricians denying in

part and granting in part 2016 Citizen Petition, Docket No. FDA-2019-P-1534 (Dec.


                                           62
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 63 of 105 PageID 5716



      241.   The FDA granted the 2019 Citizen Petition only to the extent that the

agency agreed that a REMS is necessary to ensure that the “benefits” of mifepristone

in a regimen with misoprostol outweigh the risks. But the FDA retained only the

Prescriber Agreement Form and the Patient Agreement Form as the remaining

elements of the REMS.146

      242.   Aside from retaining these two remaining requirements, the FDA

denied the 2019 Citizen Petition’s requests (1) to restore and strengthen the

mifepristone and prescriber requirements approved in 2000 and (2) to continue

limiting the dispensing of mifepristone to women in clinics, medical offices, and

hospitals, by or under the supervision of a certified prescriber.147

      243.   Before addressing the merits of the 2019 Citizen Petition, the FDA

discussed how chemical abortion drugs came to be regulated, starting with the 2000

Approval under Subpart H and the associated restrictions “needed to assure the safe

use of the drug product.” The FDA noted that it restricted the distribution of chemical

abortion drugs under Subpart H, 21 C.F.R. § 314.520. The agency also explained how

and why chemical abortion drugs have an associated REMS to “assure safe use” due

to the drug’s approval under Subpart H.148

      244.   After providing this regulatory background, the FDA defended its

decision in the 2016 Major Changes to reconsider and revise the safeguards codified




16, 2021) (2021 FDA Response).
146 Id. at 21–23.
147 Ex. 30, 2021 FDA Response.
148 Id. at 2–3.



                                           63
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 64 of 105 PageID 5717



in the original 2000 Approval and the subsequent REMS. The agency also

disregarded the analyses and data set forth in the 2019 Citizen Petition.

       245.      The FDA repeated its previous justifications not to require studies in

the pertinent pediatric population in the underlying 2000 Approval and the 2016

Major Changes, and it again asserted—without evidence—that “the safety and

efficacy were expected to be the same for postpubertal (i.e., post-menarchal)

adolescents.”149

       246.      In response to the 2019 Citizen Petition’s request to preserve the few

safeguards after the 2016 Major Changes, the FDA stated that the REMS for

mifepristone “must be modified to remove the requirement that mifepristone be

dispensed only in certain healthcare settings, specifically clinics, medical offices, and

hospitals, because this requirement is no longer necessary to ensure that the benefits

of the drug outweigh the risks.”150

       247.      In support of its claim that in-person dispensing is unnecessary, the

FDA relied on the “small” number of adverse events voluntarily reported in the FDA

Adverse Event Reporting System (FAERS) database to justify the elimination of this

safeguard, even though the FDA had years ago removed the requirement for

abortionists to report nonfatal adverse events.151

       248.      The FDA relied on the FAERS database despite conceding these facts:

“FAERS data does have limitations”; the “FDA does not receive reports for every



149 Id. at 38.
150 Id. at 25
151 Id. at 25–36.



                                            64
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 65 of 105 PageID 5718



adverse event”; and thus “FAERS data cannot be used to calculate the incidence of

an adverse event . . . in the U.S.”152

       249.   The FDA likewise admitted that FAERS “is woefully inadequate to

determine the post-marketing safety of mifepristone due to its inability to adequately

assess the frequency or severity of adverse events” and the adverse events reported

to the FDA “represent a fraction of the actual adverse events occurring in American

women.”153 The FDA also agreed that there are reporting “discrepancies [that] render

the FAERS inadequate to evaluate the safety of mifepristone abortions.” 154

       250.   The complicated FAERS electronic submission process further hinders

the reporting of adverse events and exacerbates the unreliability of the number of

adverse event reports. Doctors or other interested individuals seeking to submit an

adverse event report must navigate a confusing webpage.155 Recognizing this

difficulty in submitting adverse event reports, the FDA provides a 48-page manual

as guidance on the technical specifications for submitting an adverse event form.156



152 Ex. 31, Questions and Answers on FDA’s Adverse Event Reporting System
(FAERS),          https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-
adverse-event-reporting-system-faers.
153 Ex. 32, Kathi A. Aultman et al., Deaths and Severe Adverse Events after the Use

of Mifepristone as an Abortifacient from September 2000 to February 2019, 26 Law
& Medicine 3, 25–26 (2021).
154 Ex. 33, Christiana A. Cirucci et al., Mifepristone Adverse Events Identified by

Planned Parenthood in 2009 and 2010 Compared to Those in the FDA Adverse
Event Reporting System and Those Obtained Through the Freedom of Information
Act, 8 Health Servs. Rsch & Managerial Epidemiology 1 (2021).
155 Ex. 34, FDA, FDA Adverse Event Reporting System (FAERS) Electronic

Submissions, https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-
reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-
submissions.
156 Ex. 35, Specifications for Preparing and Submitting Electronic ICSRs and ICSR



                                         65
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 66 of 105 PageID 5719



      251.   The FDA also relied on some published studies in making its 2021

decision to deny the 2019 Citizen Petition. The agency, however, noted that “the

ability to generalize the results of these studies to the United States population is

hampered,” “the usefulness of the studies is limited in some instances by small

sample sizes and lack of follow-up information on outcomes with regard to both safety

and efficacy,” and the FDA “did not find any large clinical studies that were designed

to collect safety outcomes in healthcare systems similar to the United States.”157

      252.   Despite these limitations, the FDA concluded that mifepristone would

“remain safe and efficacy [would] be maintained” if it removed the in-person

dispensing requirement from the REMS program.158

      253.   The FDA’s 2021 Petition Response neither acknowledged nor addressed

the federal laws expressly prohibiting the distribution of mifepristone by mail,

express company, or common carrier.

      254.   In summary, the following chart illustrates the changes to the

mifepristone regimen over the years:




Attachments (April 2021), https://www.fda.gov/media/132096/download.
157 Ex. 30, 2021 FDA Response at 28.
158 Id.



                                         66
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24       Page 67 of 105 PageID 5720




XVIII. The FDA’s Removal of the In-Person Dispensing Requirement

      255.   Early in 2021, the FDA “announced that, in connection with the COVID-

19 pandemic, the agency would not enforce the in-person dispensing requirement.

Effectively, this allowed mifepristone to be prescribed remotely and sent via mail.”

AHM, 78 F.4th at 226.

      256.   “Later that year, FDA stated that it would adopt the change on a

permanent basis. It then amended mifepristone's REMS (which applies to Mifeprex

and the generic version) in January of 2023 to formalize the removal of the in-person

dispensing requirement.” Id.




                                         67
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 68 of 105 PageID 5721



XIX. Injuries to Plaintiffs

A.    Injury from 2019 approval of generic mifepristone

      257.   The same is true of the 2019 Generic Approval. By approving a generic

version of the drug, FDA increased supply and availability, lowering cost and thus

increasing use of chemical abortions. Ex. 38, Solanky Affidavit.

      258.   As a direct result of the FDA’s decision to approve the 2019 generic

version of mifepristone, “third parties [have] react[ed] in predictable ways,”

increasing the use of chemical abortion compared to surgical abortion. Dep’t of Com.

v. New York, 139 S. Ct. 2551, 2566 (2019).

      259.   The number of women obtaining chemical abortions has increased as a

result of the 2019 generic approval, Ex. 38, Solanky Affidavit, and thus the “the

number of women experiencing medical complications after taking mifepristone has

risen as a result of the generic” approval, All. for Hippocratic Med. v. U.S. Food &

Drug Admin., 78 F.4th 210, 241 (5th Cir. 2023).

      260.   Because Plaintiff States experience harm, as explained below, from the

use of chemical abortions, the 2019 generic approval aggravates and worsens Plaintiff

States’ harms.

B.    Direct Economic Injury to Plaintiffs

      261.   In addition to the incalculable toll from the loss of human life, the FDA’s

decisions to increase access to (and demand for) chemical abortions inflict substantial

economic injury on Plaintiff States.

      262.   The FDA does “not dispute that a significant percentage of women who



                                          68
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 69 of 105 PageID 5722



take mifepristone experience adverse effects.” AHM, 78 F.4th at 229. “FDA has

acknowledged that a certain fraction of patients would require surgery due to

miscellaneous complications.” Id. This fraction is about “5-8” percent, according to the

FDA. Id.

      263.   “Some women experience especially severe complications, such as

sepsis ….” Id.

      264.   “[T]housands of women, and as many as hundreds of thousands, have

experienced serious adverse effects as a result of taking the drug, and required

surgery or emergency care to treat those effects.” Id. at 230.

      265.   Research has conclusively shown that the risks of complications are

higher for chemical abortions than for surgical abortions, and also higher for low-

income women.

      266.   A recent study of Medicaid recipients who received abortions from 1999

to 2015 established that “[o]ut of 423,000 confirmed induced abortions, 121,283

abortion recipients, or 28.7%, had an ER [emergency room] visit within 30 days.” Ex.

36, Studnicki Affidavit ¶ 18.

      267.   This rate increased over time. By 2015, “more than 35% of women

having any type of induced abortion were having an ER visit for some reason within

30 days of the procedure.” Id. ¶ 16(g).

      268.   The rate of ER visits for women who had received a chemical abortion

was much higher than the rate of ER visits for women receiving surgical abortions.

“[T]he actual number and per-abortion rate of ER visits following any induced




                                          69
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 70 of 105 PageID 5723



abortion were increasing [from 1999 through 2015], but chemical abortion was

consistently associated with more post abortion ER visit morbidity than surgical

abortion. While surgical abortions led to ER visits 4% to 5% of the time [within 30

days of an abortion], the percentage for chemical abortions leading to ER visits was

8% to 9% between 2002 and 2013, increasing to a peak of 14.6% from 2014 to 2015,”

the last year of the study. Id. ¶ 11.

       269.   In other words, “abortion related ER visits as a percentage of total ER

visits was consistently about twice as high for chemical abortions as surgical

abortions.” Id. ¶ 16(c).

       270.   One reason for the higher complication rates and ER rates for women

receiving chemical abortions is that, unlike with surgical abortions where

complications often occur with a physician present, “adverse events following a

mifepristone abortion are more likely to be experienced at home in the absence of a

physician.” Id. ¶ 12. Even when a complication is experienced at a clinic, because

abortion drugs are often administered by a person who has no surgical training, a

woman experiencing complications is forced to go to an ER. Id.

       271.   Women also are told to “complete the chemical abortion regimen at

home,” and the FDA has “directed the hundreds of thousands of women who have

complications to seek ‘emergency care’ from” local hospitals near where they live. All.

for Hippocratic Med. v. Food & Drug Admin., No. 23-10362, 2023 WL 2913725, at *8

(5th Cir. Apr. 12, 2023).

       272.   Beyond emergency room visits, women receiving abortions are also




                                          70
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 71 of 105 PageID 5724



much more likely to be hospitalized than women receiving surgical abortions are. Ex.

37, Coleman Affidavit ¶ 35(a).

      273.   “Chemical abortions are significantly more likely (OR 1.80, CL 1.38-

2.35) than surgical abortions to result in an RPOC [retained products of conception]

admission.” Ex. 36, Studnicki Affidavit ¶ 19 (brackets in original).

      274.   One      reason   chemical    abortions   consistently    lead   to   higher

hospitalization rates, according to the study, is because they are improperly coded as

natural miscarriages at very high rates.

      275.   Between 1999 and 2015, an average of 30% of Medicaid recipients who

obtained chemical abortions and had abortion-related emergency room visits were

miscoded as having had natural miscarriages. In 2015, the percent miscoded was

60.9. In other words, between one-third and two-thirds of women who obtained

chemical abortions paid for by Medicaid and then had an abortion-related ER visit

were improperly coded by ER staff as having had a natural miscarriage instead of an

abortion. Id. ¶ 13.

      276.   This miscoding makes hospitalization much more likely. “A patient’s

decision not to reveal to her treating physician that she obtained a chemical abortion,

or the ER staffs’ failure to identify the failed abortion attempt, are risk factors for

multiple hospital admissions and delayed provision of necessary surgical treatment,

compared with care for those whose abortion is not miscoded.” Id. ¶ 21.

      277.   These higher complication rates, ER rates, and hospitalization rates for

chemical abortions cause direct economic harms on Plaintiff States in several ways.




                                           71
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 72 of 105 PageID 5725



      i.     Costs to public insurance associated with medical expenses

      278.   First, Plaintiff States pay for medical bills related to these complications

when women on public insurance (such as Medicaid or insurance provided by the

State to government workers) obtain chemical abortions and must go to the

emergency room or hospital in Plaintiff States.

      279.   Even in States that have greatly restricted abortions, women are forced

to seek emergency room services after obtaining chemical abortions.

      280.   For example, abortion is illegal in Missouri (except for medical

emergencies), but some Missourians obtain abortion drugs by traveling out of State,

only to return to Missouri where they experience the chemical abortion.

      281.   Last year, at least 2,883 Missourians obtained abortions in Kansas.

https://www.kdhe.ks.gov/DocumentCenter/View/29328/KS-Abortions-2022-PDF.               A

clear majority, 59.6%, of abortions performed in Kansas were chemical abortions. Id.

      282.   Unlike with surgical abortions, complications from chemical abortions

typically occur when a woman has returned home. Missouri citizens are told “to

complete the chemical abortion regimen at home,” and the FDA has “directed the

hundreds of thousands of women who have complications to seek ‘emergency care’

from” local hospitals at home. All. for Hippocratic Med. v. Food & Drug Admin., No.

23-10362, 2023 WL 2913725, at *8 (5th Cir. Apr. 12, 2023).

      283.   The vast majority of Missourians who obtain chemical abortions in

Kansas or other States complete the chemical regimen in Missouri. And if they

experience complications, they seek emergency care at facilities in Missouri.




                                          72
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 73 of 105 PageID 5726



       284.     Some women in Missouri have also obtained chemical abortion drugs in

Missouri. Organizations like “Aid Access” are mailing abortion drugs “to people in all

50 states, even those [like Missouri] that have banned it.” Rebecca Grant, Group

Using ‘Shield Laws’ to Provide Abortion Care in States That Ban It, The Guardian

(July 23, 2023).159

       285.     When Aid Access was started in 2018, “FDA regulations prevented

licensed US providers from mailing mifepristone, one of the two drugs in the

medication abortion regimen, so Aid Access was structured like … telemedicine

service.” Id.

       286.     But then the “in-person dispensing requirement for mifepristone” was

removed. Id. “For the first time, legally prescribed medication abortion could be put

in the mail. Aid Access used this opportunity to implement a hybrid model: in states

where telemedicine abortion was legal, US clinicians handled the prescriptions, while

in states where it wasn’t, the pills continued to be mailed from India.” Id.

       287.     Then, once some States like New York adopted so-called “shield-laws,”

groups like Aid Access began mailing these pills directly from the United States

instead of India, transforming the process from “needing to wait three or four weeks

to get it to happen, and not even be sure if those pills are ever going to come” to

receiving abortion drugs in the mail in “two-five days.” Id.

       288.     The FDA’s decision not to require in-person distribution has directly




159    https://www.theguardian.com/world/2023/jul/23/shield-laws-provide-abortion-
care-aid-access


                                           73
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 74 of 105 PageID 5727



contributed to the decisions of out-of-state companies to mail abortion drugs to people

in Plaintiff States. People “feel more secure knowing that the pills are coming from

licensed clinicians through an FDA-approved pipeline” rather than from India. Id.

(emphasis added).

      289.   Thus, “third parties [have] react[ed] in predictable ways” to the FDA’s

decisions, and therefore the actions of third parties are causally tied to the FDA’s

decisions. Dep’t of Com. v. New York, 139 S. Ct. 2551, 2566 (2019).

      290.   Plaintiff States pay for some of the emergency medical costs associated

with chemical abortions for women who are on Medicaid or other public insurance,

such as insurance programs provided to government employees.

      291.   For example, Missouri Medicaid (MO HealthNet) covers more than 1

million individuals in the State of Missouri, and 398,945 women and girls between

the ages of 14 and 45 are currently eligible for Missouri Medicaid. Ex. 41, Brown

Affidavit ¶¶ 5–6.

      292.   Idaho Medicaid similarly had an average monthly enrollment of 379,954

participants, including 97,055 women and girls between the ages of 14 and 45, in

2020 and 2021. Ex. 40, Charron Affidavit ¶ 15.

      293.   Between April 28, 2018 and August 23, 2023, Missouri’s Department of

Health and Senior Services (DHSS) received 438 abortion complication reports, 186

of which (about 42.4%) were submitted following chemical abortions. Ex. 39, Missouri

Department of Health and Senior Services Affidavit, at 2.

      294.   Each year Plaintiff States expend funds covering expenses associated




                                          74
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 75 of 105 PageID 5728



with medical complications from abortions.

      295.   “For example, in Calendar Year 2022, Idaho Medicaid provided coverage

for a woman presenting with bleeding following a failed medication abortion. The

medical intervention that was required and that Idaho Medicaid covered was dilation

& curretage.” Ex. 40, Charron Affidavit ¶ 12.

      296.   “In Calendar Year 2022, Idaho Medicaid expended $12,658.05 in total

funds ($3,797.42 state funds and $8,860.64 federal funds) covering treatment and

follow-up care for abortion medical complications.” Id. ¶ 9.

      297.   This was up from 2019, when Idaho Medicaid “expended at least

$10,086.47 total funds ($3,025.94 state funds and $7,060.53 federal funds) covering

treatment and follow-up care for abortion medical complications.” Id. ¶ 10.

      298.   These numbers understate the true cost because chemical abortions

routinely are miscoded as miscarriages. In 2015, nearly two-thirds of known chemical

abortions among Medicaid recipients were misclassified by ER staff as natural

miscarriages. Ex. 36, Studnicki Affidavit ¶ 33. Thus Plaintiff States spend untold

sums of money through public insurance treating complications related to chemical

abortions without knowing the underlying cause of the complications.

      299.   Plaintiff States also pay for the cost of medical bills associated with

chemical abortion complications when women obtain emergency care out of state. For

example, Missouri Medicaid pays for emergency services rendered in other States.

https://dss.mo.gov/mhd/providers/pdf/out-of-state-non-bordering-services.pdf.

      300.   Similarly,   government    employees    can   receive   payments   from




                                          75
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 76 of 105 PageID 5729



government health insurance programs for government employees out of state.


      ii.    Costs to public hospitals

      301.   Second, Plaintiff States operate various public hospitals that serve

women who have obtained chemical abortions. The public hospitals act as an arm of

the State.

      302.   In Missouri, for example, each of these public hospitals is ultimately

controlled by the State of Missouri and receives state funds.

      303.   MO HealthNet (Missouri Medicaid) pays a determined rate to public

hospitals, which in some circumstances may be lower than the hospital’s costs. Per

regulations, those public hospitals agree to accept the payment as payment in full,

even if it is less than their actual cost. They may not seek further payment from the

patient.

      304.   If MO HealthNet pays only a portion of a medical bill, the public hospital

(an instrumentality of the State) will incur as an expense the difference between the

full amount of the medical bill and what was paid.

      305.   If a public hospital provides medical services for complications

stemming from chemical abortions, and the State’s Medicaid program does not cover

the full portion of the bill, the outstanding balance is a loss to the public hospital,

which is itself an instrumentality of the State.

      306.   Between January 2018 and August 16, 2023, 55 of the 438 chemical

abortion complication reports (approximately 1 in 8 of all total chemical abortion

complication reports) were reported by Missouri’s public hospitals. Ex. 39, Missouri



                                          76
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 77 of 105 PageID 5730



Department of Health and Senior Services Affidavit, at 2.

      iii.     Costs to public insurance associated with mental health care

      307.     As with medical complications, Plaintiff States also provide public

coverage of certain mental health expenses such as psychiatry, psychology, and

counseling, including through Medicaid and public insurance programs for

government employees.

      308.     Studies show that women and girls who receive a chemical abortion

suffer from harms to their mental health and psychological conditions at a rate higher

than women and girls who receive a surgical abortion. Ex. 37, Coleman Affidavit

¶¶ 18–26(e).

      309.     According to these studies, women who choose chemical abortion over

surgical exhibit significantly higher rates of mental health issues, such as obsessive-

compulsive symptoms, guilt, interpersonal sensitivity issues, paranoid ideation, and

general psychological/psychiatric symptoms. Id. ¶ 19.

      310.     On top of that, chemical abortion causes greater negative effects on

mental health because of its painfulness and disruptiveness. Id. ¶ 22.

      311.     Unlike women who obtain surgical abortions, women who choose

chemical abortion often view the unborn child as it is aborted, which is associated

with more intrusive events, such as nightmares, flashbacks, and unwanted thoughts

related to the experience. Id. ¶¶ 22–26(e).

      312.     Because women are the direct actor when they take abortion pills

(unlike with surgical abortions, where the physician is the direct actor) women who




                                          77
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 78 of 105 PageID 5731



choose chemical abortion report feeling that they have actively participated in their

child’s death. Id. ¶¶ 22–26(e).

      313.   Women who chose chemical abortion have higher PTSD intrusion scores

indicative of nightmares, unwanted thoughts, and images. Id. ¶¶ 22(b), 25.

      314.   Women who choose chemical abortion are more likely to continue

associating their homes, or the bathroom, with abortion. The home may become a

trigger for uncomfortable emotions rather than a refuge. Id. ¶ 26(e).

      315.   As a result of these and other factors, women who obtain chemical

abortions are more likely to seek and need general mental health services, including

women who obtain publicly funded mental health services.

C.    Injury to Plaintiffs’ sovereign interests in the creation and
      enforcement of their own laws.

      316.   Doctors who live or work in Plaintiff States will continue to treat women

and girls who suffer complications from chemical abortion drugs.

      317.   Plaintiff States have a number of different statutes regulating and, in

certain instances, prohibiting, chemical abortions.

      318.   For example, Missouri law prohibits any abortion “except in cases of

medical emergency.” Mo. Rev. Stat. § 188.017.2.

      319.   Missouri law also states that no provider can administer a chemical

abortion drug without first submitting a treatment plan to address complications and

obtaining approval from the health department of that plan:

      When the Food and Drug Administration label of any drug or chemical used
      for the purpose of inducing an abortion includes any clinical study in which
      more than one percent of those administered the drug or chemical required



                                         78
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 79 of 105 PageID 5732



      surgical intervention after its administration, no physician may prescribe or
      administer such drug or chemical to any patient without first obtaining
      approval from the department of health and senior services of a complication
      plan from the physician for administration of the drug or chemical to any
      patient.
                                                          Mo. Rev. Stat. § 188.021.2

      320.   Regulations passed under this law require physicians who perform

abortions to prearrange for backup physicians to address complications if needed. 19

C.S.R. 10-15.050.

      321.   Missouri law also includes an in-person dispensing requirement for

abortion drugs. “When RU-486 (mifepristone) or any drug or chemical is used for the

purpose of inducing an abortion, the initial dose of the drug or chemical shall be

administered in the same room and in the physical presence of the physician who

prescribed, dispensed, or otherwise provided the drug or chemical to the patient.” Mo.

Rev. Stat. § 188.021.1.

      322.   The FDA’s actions interfere with Plaintiff States’ “sovereign interest in

‘the power to create and enforce a legal code.’” Texas Office of Public Utility Counsel

v. F.C.C., 183 F.3d 393, 449 (5th Cir. 1999) (quoting Alfred L. Snapp & Son, Inc. v.

Puerto Rico, 458 U.S. 592, 601 (1982)).

      323.   For example, one federal court has determined that FDA’s “2023 REMS

reflect a determination by the FDA that when mifepristone is prescribed, it may be

prescribed via telemedicine.” GenBioPro, Inc. v. Sorsaia, No. CV 3:23-0058, 2023 WL

5490179, at *10 (S.D.W. Va. Aug. 24, 2023). On that basis, the court ruled that West

Virginia’s law—which, like Missouri’s, does not permit telemedicine abortion with

chemical abortion drugs—was preempted. Id.



                                          79
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 80 of 105 PageID 5733



      324.   If sued, Missouri will vigorously dispute that its law is preempted by

FDA’s REMS, but the GenBioPro decision makes clear that the FDA’s unlawful

REMS creates a substantial risk of injury to Missouri in the form of interference with

Missouri’s ability to create and enforce a legal code.

      325.   In addition, as explained above and further below, out-of-state

organizations have begun mailing abortion pills directly into Plaintiff States in

reliance on the FDA’s decision to remove the in-person dispensing requirement. The

FDA’s decision has thus interfered with the fundamental policy of States like

Missouri to prohibit abortions (other than in exceptional circumstances) and to

require in-person administration of abortion drugs.

      326.   In the 2021 Non-Enforcement Decision, the FDA began declining to

enforce the in-person dispensing requirement of the REMS for mifepristone.

      327.   On December 16, 2021, Defendant Cavazonni wrote a letter to Graham

Chelius, M.D., of the Society of Family Planning and the California Academy of

Family Physicians. The letter stated in part that the FDA was modifying the REMS

for mifepristone to remove the in-person dispensing requirement.

      328.   Since the 2021 Non-Enforcement Decision, abortionists have been

mailing mifepristone into Plaintiff States for the purpose of providing abortions to

people in states that have laws prohibiting chemical abortions.160




160 Rachel Roubein, ‘Shield’ Laws Make it Easier to Send Abortion Pills to Banned

States,          Wash.            Post.         (July          20,          2023)
https://www.washingtonpost.com/politics/2023/07/20/shield-laws-make-it-easier-
send-abortion-pills-banned-states/


                                          80
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24            Page 81 of 105 PageID 5734



          329.   This continued after the FDA formalized the removal of the in-person

dispensing requirement in January 2023.

          330.   According to just one report, in less than a month, seven U.S.-based

providers mailed approximately 3,500 doses of mifepristone and its generic

equivalent to states that have banned the use of chemical abortions.161

          331.   Indeed, some States have embraced Defendants’ actions and have in fact

passed “shield” laws expressly seeking to prevent Plaintiff States from enforcing their

own laws.162 These laws often explicitly name mifepristone and the proponents of

those laws openly proclaim that they seek to abrogate the sovereignty of Plaintiff

States.163

          332.   Plaintiff States have a sovereign interest in ensuring the enforcement of

their duly passed laws and in not being compelled to disregard those laws. See Texas

v. United States, 787 F.3d 733, 752 n.38 (5th Cir. 2015); cf. Abbott v. Perez, 138 S. Ct.

2305, 2324 n. 17 (2008) (“[T]he inability to enforce its duly enacted plans clearly

inflicts irreparable harm on the State.”).

          333.   By lowering the barriers to obtain mifepristone, including removing the

requirement that the drug be administered in-person by a licensed physician,

Defendants have unlawfully, arbitrarily, and capriciously removed the restrictions




161 Id.
162 Rachel Roubein, How blue states are responding to the post-Roe world, Wash. Post

(June 21, 2023) https://www.washingtonpost.com/politics/2023/06/21/how-blue-
states-are-responding-post-roe-world/
163 Id.



                                             81
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24             Page 82 of 105 PageID 5735



that prevented or limited the ability of third parties to unlawfully provide

mifepristone in Plaintiff States.

         334.   FDA’s decisions have similarly deprived Plaintiff States of their

sovereign “benefits that are to flow from participation in the federal system.” Alfred

L. Snapp, 458 U.S. at 608. One such benefit is the uniform application of federal law

and the ability of States to rely on the backdrop of federal law when enacting their

own regulations. Crow Indian Tribe v. United States, 965 F.3d 662, 676-677 (9th Cir.

2020).

         335.   Plaintiff States have relied on federal laws so the States can implement

their own policies about in-person administration, protection of human life, and other

policies.

         336.   Defendants’ actions—including the 2016 Major Changes and the 2021

Non-Enforcement Decision—have the direct effect of enabling and encouraging third

parties to provide, through the mail, mifepristone to citizens of Plaintiff States for

the purpose of inducing risky abortions that are expressly contrary to the policies

expressed in many of those States’ statutes.

         337.   As a result of Defendants’ actions, Plaintiffs have suffered injury to their

sovereign interests because they are unable to fully enact and enforce their laws.

These harms are distinct (and in addition to) the harms suffered by the citizens of

Plaintiffs as a result of the 2016 Major Changes and the 2021 Non-Enforcement

Decision.

         338.   The harms to Plaintiffs’ sovereign interests in enforcing their laws are




                                             82
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 83 of 105 PageID 5736



irreparable. See, e.g., Kansas v. United States, 249 F.3d 1213, 1227 (10th Cir. 2001)

(holding that Kansas suffered an irreparable harm where a federal agency’s decision

“places [Kansas’] sovereign interests and public policies at stake.”).

      339.   Absent the relief sought in this lawsuit, the actions of Defendants will

continue to encourage the violation of Plaintiffs’ laws and harm Plaintiffs’ sovereign

interests in the enforcement of their laws.

      340.   Plaintiffs’ citizens include women and girls who have suffered and will

suffer from complications from the FDA’s unlawful approval of chemical abortion

drugs and subsequent elimination of the safeguards previously included with the use

of chemical abortion drugs.

D.    Injury to Plaintiffs’ quasi-sovereign interest in protecting the health
      and wellbeing of its citizens.

      341.   Plaintiffs’ citizens include women and girls who have suffered and will

suffer from complications from the FDA’s unlawful approval of chemical abortion

drugs and subsequent elimination of the safeguards previously included with the use

of chemical abortion drugs.

      342.   Plaintiffs’ citizens also include doctors who have treated and will

continue to treat women and girls who have suffered complications from the FDA’s

unlawful approval of chemical abortion drugs and subsequent elimination of the

safeguards necessary to protect women and girls.

      343.   Missouri, Kansas, and Idaho have a quasi-sovereign interest in

protecting the health and welfare of women and girls in their states—groups which

constitute “a sufficiently substantial segment of [the States’] population[s].” Alfred L.



                                           83
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 84 of 105 PageID 5737



Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 607 (1982). This falls

within Plaintiff States’ “quasi-sovereign interest in the health and well-being—both

physical and economic—of its residents in general.” Id. This injury “suffices to give

the State[s] standing to sue” because “the injury” to the health and welfare of women

and girls in each State “is one that the State . . . would likely attempt to address.” Id.

Indeed, Plaintiff States have addressed the harms “through [their] sovereign

lawmaking powers.” See, e.g., Mo. Rev. Stat. § 188.017.2; Alfred L. Snapp, 458 U.S.

at 607.

      i.       Injuries to Women and Girls

      344.     Chemical abortion drugs cause women and girls who are citizens of

Plaintiffs to suffer many intense side effects, including cramping, heavy bleeding, and

severe pain.

      345.     Women and girls who are citizens of Plaintiffs and who take chemical

abortion drugs experience significantly more complications than those who have

surgical abortions.

      346.     Since the 2016 Major Changes, the number of women and girls who are

citizens of Plaintiff States, who have suffered complications from chemical abortion,

and who have required critical medical treatment has increased and will continue to

increase.

      347.     The FDA’s decision to expand the gestational age for approved

mifepristone use to 70 days (10 weeks) harms women and girls.

      348.     This expansion of the permissible gestational age is especially




                                           84
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24       Page 85 of 105 PageID 5738



dangerous for women and girls when combined with the FDA’s elimination of the in-

person dispensing and follow-up visit requirements.

      349.   The FDA’s failure to require an ultrasound, its subsequent elimination

of in-person drug administration, physician supervision, and patient follow-up, and,

finally, its removal of the in-person dispensing requirement exposes women and girls

who are citizens of Plaintiffs to increased risk of suffering complications from

chemical abortion and requiring further medical attention following the drug

regimen.

      350.   Because the FDA does not require it, many abortionists do not remain

physically near women and girls during the most painful and excruciating periods of

the chemical abortion drug regimen, often sending the women and girls home with

the drugs. Given their lack of admitting privileges and treatment capabilities,

abortionists usually instruct women to go to the emergency department of the closest

hospital for treatment of any severe adverse events.

      351.   The FDA has eliminated all procedural safeguards that would rule out

ectopic pregnancies, verify gestational age, identify any contraindications to

prescribing mifepristone, or identify potential complications like sepsis and

hemorrhage, remaining fetal parts, and others until the patient is at a critical time

or it is too late to help the patient. As a result, women and girls often suffer

unexpected episodes of heavy bleeding or severe pain and must rush to the emergency

department of the nearest hospital.

      352.   As more women and girls who are citizens of Plaintiffs require treatment




                                         85
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 86 of 105 PageID 5739



in emergency departments, the other patients of the treating doctors are adversely

affected. With the increase in women and girls suffering emergency complications

from chemical abortion or seeking to reverse the effects of the chemical abortion

regimen, there is a direct correlation in the decrease in time, attention, and resources

that emergency department doctors have to treat their other patients.

        353.   Abortionists commonly violate the remaining safeguards and the FDA-

approved label for chemical abortion drugs by giving the drugs to women who are

contraindicated for chemical abortion (i.e., could experience deadly adverse events if

they take the drugs) and then subsequently harmed by these drugs, demonstrating

that the FDA’s remaining safeguards for women and girls are ineffective in protecting

them.

        354.   The FDA’s decision not to require abortionists to report all adverse

events for chemical abortion drugs harms women and girls who are citizens of

Plaintiffs because it creates an inaccurate and false safety profile for the use of

chemical abortion drugs.

        355.   Due to inadequate adverse event reporting, the true rates of risks

associated with chemical abortion drugs remain undercounted and therefore are

unknown. Because abortion providers cannot know the accurate risk levels that their

patients face when ingesting these drugs, these providers cannot properly inform

their patients about the risks associated with chemical abortion. This prevents

women and girls who are citizens of Plaintiffs from giving informed consent to these

providers.




                                          86
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 87 of 105 PageID 5740



         356.   Many women and girls do not fully understand the nature of chemical

abortion drugs and the risks that these drugs present to them.

         357.   Abortionists who prescribe or dispense chemical abortion drugs to

citizens of Plaintiffs are not providing women with an adequate, accurate assessment

of the known risks and effects associated with chemical abortion. Therefore, women

and girls are unable to give informed consent for the drugs they are receiving, and

thus they are not consenting at all to taking the chemical abortion drugs—resulting

in physical and mental injuries.

         358.   Women and girls often suffer distress and regret after undergoing

chemical abortion, sometimes seeking to reverse the effects of mifepristone. Ex. 37,

Coleman Affidavit ¶ 24.

         359.   A woman or girl can experience these emotions and feelings upon

viewing the body of her lifeless baby after taking chemical abortion drugs. Id.

         360.   Even with medical oversight, abortionists can sometimes coerce women

into taking chemical abortion drugs—without their true informed consent. Id. ¶¶ 44–

45(b).

         361.   The FDA’s actions to eliminate in-person dispensing and administration

also harm women who are citizens of Plaintiffs because the lack of oversight will

likely exacerbate human trafficking. Many trafficked women experience abortions

and doctors potentially serve as an important resource to intervene on behalf of these

trafficked women and girls.

         362.   Women and girls who are citizens of Plaintiffs will continue to suffer




                                           87
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 88 of 105 PageID 5741



complications from chemical abortion drugs.

      ii.    Injuries to Doctors in Plaintiff States

      363.   Because the FDA’s 2000 Approval of chemical abortion drugs legalized

an unsafe drug regimen, women and girls, including women and girls who are citizens

of Plaintiffs, have suffered many intense side effects and increasing complications—

requiring crucial medical attention and treatment.

      364.   The FDA’s 2000 Approval has caused medical professionals, including

doctors who live or work in Plaintiff States, to treat women and girls who have

suffered complications from mifepristone and misoprostol.

      365.   Since the 2016 Major Changes and the associated elimination of

necessary safeguards for women and girls, medical professionals, including doctors

who live or work in Plaintiff States, have seen and will continue to see an additional

increase in the rate of women and girls who have suffered complications from

chemical abortion—complications requiring critical treatment from these doctors.

      366.   The FDA’s approved regimen for chemical abortion drugs harms not

only women and girls but also medical professionals, including doctors who live or

work in Plaintiff States, who respond and treat these complications and other effects

from chemical abortion drugs.

      367.   The FDA’s elimination of most of the safeguards protecting women and

girls from the dangers of mifepristone has made chemical abortion more widely

available, with less medical supervision—causing more women and girls to

experience complications from chemical abortion and, therefore, increasing




                                         88
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 89 of 105 PageID 5742



emergency situations. An increase in complications only compounds the harm to

doctors, including doctors who live or work in Plaintiff States.

      368.   The same is true of the 2019 Generic Approval. By approving a generic

version of the drug, FDA increased supply and availability, lowering cost and thus

increasing use of chemical abortions. Ex. 38, Solanky Affidavit.

      369.   When women and girls suffer complications from chemical abortion

drugs, these adverse events can overwhelm the medical system and consume crucial

limited medical resources, including blood for transfusions, physician time and

attention, space in hospitals and medical centers, and other equipment and

medicines. This need for blood transfusions exacerbates the current critical national

blood shortage.164

      370.   The increased occurrence of complications related to chemical abortion

drugs multiplies the workload of health care providers, including doctors who live or

work in Plaintiff States, in some cases by astronomical amounts. This is especially

true in maternity care “deserts” (i.e., geographic areas where there are not a large

number of OB/GYN providers for patients).

      371.   When there is a complication from chemical abortion drugs, the typical

care changes from simple patient management to complicated patient management.

Accordingly, a patient who suffers complications from chemical abortion drugs




164 Current National Blood Supply, https://americasblood.org/for-donors/americas-
blood-supply/ (last visited Nov. 16, 2022); Catherine Garcia, The urgent American
blood shortage, explained, The Week (Oct. 26, 2022), https://theweek.com/health-and-
wellness/1017643/the-urgent-american-blood-shortage-explained.


                                          89
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 90 of 105 PageID 5743



requires significantly more time and attention from providers than most patients

require.

      372.   The FDA’s elimination of the in-person dispensing requirement for

chemical abortion drugs—allowing mail-order abortion—further harms the practice

of medicine. The increasing number of chemical abortions through mail-order or

telemedicine methods means that more women and girls will suffer complications and

require medical attention from doctors, including doctors who live or work in Plaintiff

States, especially given that remote abortionists often cannot or do not treat such

complications.

      373.   To circumvent state laws that regulate abortions and protect the health

and safety of women and girls, abortionists are relying on access to chemical abortion

drugs through mail-order schemes or telemedicine, further increasing the use of these

drugs and the complications associated with them.165

      374.   As more emergency situations arise, emergency room doctors, including

doctors who live or work in Plaintiff States, are having to treat more patients,

including performing hysterectomies or removing remaining fetal parts. The more

patients suffering emergency complications from chemical abortion or seeking to

reverse the chemical abortion process, the less time and attention these doctors have

to treat their other patients.



165 Ruth Reader, State abortion bans prove easy to evade, Politico (Nov. 11, 2022, 2:24

PM),        https://www.politico.com/news/2022/11/01/state-abortion-bans-medication-
00064407; Emily Bazelon, Risking Everything to Offer Abortions Across State Lines,
New York Times (Oct. 4, 2022), https://www.nytimes.com/2022/10/04/magazine/
abortion-interstate-travel-post-roe.html.


                                          90
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 91 of 105 PageID 5744



      375.   Because abortionists often do not adequately describe what happens

during a chemical abortion and give these drugs to women and girls to take outside

of the abortion facility, more doctors have needed to treat and care for women who

come to the emergency department for intense bleeding and other effects of the

chemical abortion drugs.

      376.   Doctors who live or work in Plaintiff States experience enormous

pressure, stress, and chaos in the emergency situations the FDA created through its

approval of chemical abortion drugs and elimination of necessary safeguards.

      377.   Some of these emergency situations force pro-life doctors, including

doctors who live or work in Plaintiff States, into situations in which they feel complicit

in an elective chemical abortion because they are required to remove a baby with a

beating heart or other pregnancy tissue to save the life or health of the woman or girl.

This feeling of complicity in the act of an elective chemical abortion causes great

emotional suffering, mental anguish, and spiritual distress among these doctors.

      378.   The FDA’s loosening of chemical abortion regulations impacts the

standard of care for chemical abortion drugs and the demands and expectations that

hospitals will put on their physicians.

      379.   When patients have chemical abortions, their doctors lose the

opportunity to provide professional services and care for the woman and child

through pregnancy, which causes harms to providers who no longer can care for their

patients and bring about a successful delivery.

      380.   The FDA’s elimination of the requirement for abortionists to report all




                                           91
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 92 of 105 PageID 5745



adverse events related to chemical abortion drugs leads to unreliable reporting.

Without an accurate understanding of the adverse effects of widespread chemical

abortion drug use, doctors who practice in Plaintiff States cannot effectively practice

evidence-based medicine. Healthcare providers cannot assess the risks of a particular

course of treatment if the FDA is not collecting and tracking the risks. And, therefore,

they cannot accurately advise their patients and the public about these risks.

      381.   Many doctors likely do not know about the importance of reporting

adverse events related to chemical abortion drugs to the FDA. Similarly, many

doctors likely do not know how to report adverse events.

      382.   Even when doctors want to voluntarily report adverse events associated

with chemical abortion to the FDA, they must go through the complicated,

cumbersome, and time-consuming FAERS submission process. The adverse event

reporting requirements and the FAERS submission process harm medical practices

by taking away significant time from a doctor to treat and meet with patients.

      383.   In addition, even when doctors want to voluntarily report adverse events

to the manufacturer, Danco, the doctor must print, fill out by hand, and then either

mail or email back the form to Danco. Much of the information required by this form

is impossible to obtain by the physician seeing the patient if they were not the one

who dispensed the medication (such as lot number and dosage)—forcing the doctor to

leave several fields blank. There is no confirmation whether reported complications

sent to Danco are ever recorded by Danco or reported to the FDA. Regardless, this

submission process harms medical practices by taking away significant time from a




                                          92
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 93 of 105 PageID 5746



doctor to treat and meet with patients.

       384.   Because many women and girls suffering complications from chemical

abortion drugs tell emergency department doctors that they are experiencing

miscarriages, doctors often do not report these incidences as adverse events, leaving

these complications significantly underreported or not fully known. In a recent study,

as many as 60.9% of chemical abortions were miscoded as miscarriages when patients

later were forced to go to the emergency room. Ex. 36, Studnicki Affidavit ¶ 13.

       385.   The inability or refusal of a patient to disclose why she is presenting

herself in the emergency department or what drugs she has received also impedes

the ability of doctors, including doctors who live or work in Plaintiff States, to practice

medicine and provide proper treatment to these patients.

       386.   The lack of accurate information on adverse events also harms the

doctor-patient relationship with all medical care providers because the patients no

longer trust that their health care providers are telling them the truth. This harms

even doctors who do not support or practice chemical abortions.

       387.   The FDA’s removal of necessary safeguards for women and girls who use

chemical abortion drugs increases physicians’ exposure to potential liability.

Emergency department physicians often have no prior relationship with the patient,

lack access to the patient’s medical history, and encounter patients who do not know

what drugs they consumed or conceal the fact that they attempted a chemical

abortion. These factors place physicians in higher-risk situations with less critical

information about patients, thus increasing their exposure to allegations of




                                            93
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 94 of 105 PageID 5747



malpractice and potential liability.

      388.   As this exposure increases, so does the cost to practice medicine,

including insurance costs.

      389.   Doctors who live or work in Plaintiff States serve patients as

professional health care providers. They provide care to all women and unborn

children, and they give them the best professional services possible. Just like all other

health care providers, a hospital or practice will bill for the costs of medical services

rendered. When their patients have chemical abortions, they lose the opportunity to

provide professional medical care for the woman and child through pregnancy and

bring about a successful delivery.

      390.   Doctors who live or work in Plaintiff States will likely continue to treat

women and girls who suffer complications from chemical abortion drugs.

      391.   FDA’s decisions aggravate all these harms. For example, the removal of

the pre-2016 REMS, the approval of generic mifepristone, and the 2023 removal of

the in-person dispensing requirement increase supply of chemical abortions, thus

lowering cost and increasing use of chemical abortions. Ex. 38, Solanky Affidavit.

Because chemical abortions are riskier and costlier than surgical ones, that increased

use of chemical abortions imposes substantial harms on Plaintiff States.

      392.   Similarly, by extending the gestational age at which women can obtain

the abortion drug, the FDA has increased the risk for women. Chemical abortions at

later gestational ages come with greater complication rates and greater risks for

mental health. Ex. 37, Coleman Affidavit ¶¶ 27–33, 40–41




                                           94
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24       Page 95 of 105 PageID 5748



                                  CLAIMS FOR
                                    RELIEF

                                   CLAIM ONE

                             2016 MAJOR CHANGES

           ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
       IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
      LIMITATIONS, OR SHORT OF STATUTORY RIGHT; ARBITRARY,
     CAPRICIOUS, AN ABUSE OF DISCRETION, OR OTHERWISE NOT IN
                      ACCORDANCE WITH LAW

       393.   Plaintiffs re-allege and incorporate, as though fully set forth, all

previous paragraphs of this complaint.

       394.   Defendants lacked legal authority to make the 2016 Major Changes.


I.      FFDCA

       395.   The FDA’s 2016 Major Changes violated the FFDCA because they did

not include adequate tests by all methods reasonably applicable to show whether or

not such drug is safe for use under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof.

       396.   The 2016 Major Changes violated the FFDCA because the results of the

tests on which the FDA relied for its 2016 Major Changes showed that chemical

abortion is unsafe for use under such conditions, or they did not show that such drug

is safe for use under the conditions prescribed, recommended, or suggested in the

proposed labeling thereof.

       397.   The 2016 Major Changes violated the FFDCA because the FDA had

insufficient information to determine whether mifepristone is safe for use under the

conditions prescribed, recommended, or suggested in the proposed labeling thereof.


                                         95
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24         Page 96 of 105 PageID 5749



      398.   The FDA’s 2016 Major Changes lacked substantial evidence that the

new drug will have the effect it purports or is represented to have under the

conditions of use prescribed, recommended, or suggested in the proposed labeling

thereof.

      399.   In violation of the FFDCA, none of the studies on which the FDA relied

for its 2016 Major Changes evaluated the safety and effectiveness of the chemical

abortion regimen under the conditions of the label approved in 2016, or they failed to

satisfy the substantial evidence requirement for showing the safety and effectiveness

of the regimen under the conditions of the label approved in 2016.

      400.   Therefore, Defendants lacked legal authority to make the 2016 Major

Changes. The FDA’s 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right under the FFDCA. The FDA’s

2016 Major Changes were unreasonable and not supported by the administrative

record.

II.       PREA
      401.   The FDA lacked legal authority under PREA to make the 2016 Major

Changes, and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,

an abuse of discretion, and not in accordance with law, because PREA allows the FDA

to extrapolate from studies of adult populations only if the course of a “disease” is

substantially similar in adults and the pediatric population. Because pregnancy is

not a disease, PREA did not permit the FDA to make such an extrapolation.

      402.   Defendants lacked legal authority under PREA to make the 2016 Major


                                          96
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24           Page 97 of 105 PageID 5750



Changes and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,

an abuse of discretion, and not in accordance with law, because the FDA failed to

satisfy the requirement for documentation of the scientific data that supports its

extrapolation that the course of the “disease” and the effects of the drug are

sufficiently similar in adult women and pediatric girls.

       403.   Defendants lacked legal authority under PREA to make the 2016 Major

Changes and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,

an abuse of discretion, and not in accordance with law, because the FDA did not

require an assessment that evaluated the safety and effectiveness of mifepristone for

girls under 18 years of age.

III.   Pretext
       404.   The FDA’s illegal and unreasonable rationales for the 2016 Major

Changes—in light of the political context of the agency’s actions—indicate that the

stated reasons for the 2016 Major Changes are pretext. Therefore, the FDA’s 2016

Major Changes is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

IV.    Request
       405.   For the reasons stated above, the FDA’s 2016 Major Changes must be

held unlawful, set aside, and preliminarily and permanently enjoined.


                                    CLAIM TWO




                                          97
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24       Page 98 of 105 PageID 5751



                2019 ABBREVIATED NEW DRUG APPROVAL

         ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
     IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
    LIMITATIONS, OR SHORT OF STATUTORY RIGHT; ARBITRARY,
   CAPRICIOUS, AN ABUSE OF DISCRETION, OR OTHERWISE NOT IN
                    ACCORDANCE WITH LAW

      406.   Plaintiffs re-allege and incorporate, as though fully set forth, all

previous paragraphs of this complaint.

      407.   Defendants lacked legal authority to issue the 2019 ANDA Approval.

      408.   Because the FDA relied on the unlawful 2000 Approval of Mifeprex as a

means to approve GenBioPro’s generic drug, Mifepristone Tablets, 200 mg, the 2019

ANDA Approval needed independently to satisfy the requirements of the FFDCA and

PREA.

      409.   Although Plaintiff States do not challenge the 2000 approval in light of

concerns expressed by the Fifth Circuit in the Alliance for Hippocratic Medicine case

that the statute of limitations may have run, the 2000 approval was arbitrary and

capricious and otherwise unlawful.

      410.   Unable to rely on an unlawful approval, the FDA’s approval of the 2019

ANDA Approval violated the FFDCA because it lacked the clinical investigations,

adequate testing, sufficient information, and substantial evidence to show the safety

and effectiveness of mifepristone under the conditions of use prescribed,

recommended, or suggested in the proposed labeling thereof as required by 21 U.S.C.

§ 355(d).

      411.   Unable to rely on an unlawful approval, the FDA’s approval of the 2019




                                         98
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24          Page 99 of 105 PageID 5752



ANDA also violated PREA because the submission lacked the necessary assessment

on the safety and effectiveness of mifepristone on the pediatric population as required

by 21 U.S.C. § 355c(a).

       412.   For these reasons, the 2019 ANDA Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2019 ANDA

Approval was arbitrary, capricious, an abuse of discretion, and not in accordance with

law.

       413.   The FDA’s illegal and unreasonable rationales for the 2019 ANDA

Approval—in light of the political context of the agency’s actions—indicate that the

stated reasons for the 2019 ANDA Approval are pretext. Therefore, the FDA’s 2019

ANDA Approval is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

       414.   FDA’s 2019 ANDA Approval was independently unlawful because FDA

lacked a sufficient scientific basis for granting the approval.

       415.   Therefore, the 2019 ANDA Approval must be held unlawful, set aside,

and preliminarily and permanently enjoined.

                                   CLAIM THREE
     2016 MAJOR CHANGES, 2019 ANDA APPROVAL, 2021 NON-
 ENFORCEMENT DECISION, AND 2023 FORMALIZATION OF REMOVAL
           OF IN-PERSON DISPENSING REQUIREMENT

 ULTRA VIRES; ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706) IN
     EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
         LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR OTHERWISE
                NOT IN ACCORDANCE WITH LAW

       416.   Plaintiffs re-allege and incorporate, as though fully set forth, all


                                           99
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24       Page 100 of 105 PageID 5753



previous paragraphs of this complaint.

      417.    The FDA lacked legal authority when issuing its 2016 Major Changes,

2021 Non-Enforcement Decision, and 2023 Removal of In-Person Dispensing

Requirement.

      418.    None of these FDA actions comply with the federal laws that expressly

prohibit the mailing or delivery by any letter carrier, express company, or other

common carrier of any substance or drug intended for producing abortion. 18 U.S.C.

§§ 1461–62.

      419.    Since the 2000 Approval, the FDA has failed to restrict the upstream

distribution of chemical abortion drugs from manufacturer or importer to abortionists

in violation of these federal laws.

      420.    The FDA’s 2021 Non-Enforcement Decision and 2023 Removal of In-

Person Dispensing Requirement also violated these federal laws because they

impermissibly removed the in-person dispensing requirement for chemical abortion

drugs and, accordingly, authorized the downstream distribution of chemical abortion

drugs by mail, express company, and other common carriers.

      421.    Because a federal agency cannot permit what federal law expressly

prohibits, the FDA lacked legal authority when issuing its 2016 Major Changes, 2021

Non-Enforcement Decision, and 2023 Removal of In-Person Dispensing Requirement.

      422.    Therefore, the FDA’s 2016 Major Changes, 2021 Non- Enforcement

Decision, and 2023 Removal of In-Person Dispensing Requirement must be held

unlawful, set aside, and preliminarily and permanently enjoined under the Court’s




                                         100
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 101 of 105 PageID 5754



inherent equitable power to enjoin ultra vires actions, Larson, 337 U.S. at 689–91.

                                   CLAIM FOUR

      2023 REMOVAL OF IN-PERSON DISPENSING REQUIREMENT

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW;
                 VIOLATION OF 18 U.S.C. §§ 1461–62
      423.   Plaintiffs re-allege and incorporate, as though fully set forth, all

previous paragraphs of this complaint.

      424.   The 2019 Citizen Petition provided FDA with significant data and

reasons to justify restoring the pre-2016 REMS.

      425.   FDA lacked data to justify removing the in-person dispensing

requirement.

      426.   Removal of the in-person dispensing requirement authorizes delivering

abortion drugs by mail or common carrier, which is plainly illegal under federal law,

18 U.S.C. §§ 1461–62.

      427.   Therefore,   the   FDA’s    2023   Removal    of   In-Person   Dispensing

Requirement must be held unlawful, set aside, and preliminarily and permanently

enjoined under the APA.

                                 PRAYER FOR RELIEF

      For these reasons, Plaintiff States respectfully request that the Court enter an

order and judgment against Defendants, including their employees, agents,

successors, and all persons in active concert or participation with them, in which it:




                                         101
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24      Page 102 of 105 PageID 5755



      A.     Issues a preliminary injunction ordering Defendants

                i. to reinstate the REMS that were in place before 2016;

               ii. to rescind the 2019 generic approval; and

               iii. to restore the in-person dispensing requirement;

      B.     Issues a permanent injunction ordering Defendants to withdraw

mifepristone and misoprostol as FDA-approved chemical abortion drugs and to

withdraw Defendants’ actions to deregulate these chemical abortion drugs.

      C.     Holds unlawful, sets aside, and vacates the 2016 Major Changes.

      D.     Holds unlawful, sets aside, and vacates the 2019 ANDA Approval.

      E.     Holds unlawful, sets aside, and vacates the 2023 Removal of In-Person

Dispensing Requirement.

      F.     Declares that the chemical abortion drugs mifepristone and misoprostol

fall outside the scope of the FDA’s regulation entitled “Subpart H–Accelerated

Approval of New Drugs for Serious or Life-Threatening Illnesses” (codified at 21

C.F.R. §§ 314.500, et seq.) because pregnancy is not an “illness” and these drugs do

not “provide meaningful therapeutic benefit to patients over existing treatments.”

      G.     Declares that the Federal Food, Drug, and Cosmetic Act requires the

FDA to rely on clinical investigations and studies that show a drug is safe and

effective for use under the conditions prescribed, recommended, or suggested in the

proposed labeling thereof when reviewing and approving a new drug application or a

supplemental new drug application.




                                        102
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 103 of 105 PageID 5756



      H.       Declares that the Federal Food, Drug, and Cosmetic Act prohibits the

FDA from relying on studies that incorporate safeguards and protections not included

under the conditions prescribed, recommended, or suggested in the proposed labeling

when reviewing and approving a new drug application or a supplemental new drug

application.

      I.       Declares that the Federal Food, Drug, and Cosmetic Act prohibits the

FDA from relying exclusively on studies that fail to evaluate all the requested

changes in the proposed labeling thereof when reviewing and approving a new drug

application or a supplemental new drug application.

      J.       Declares that 18 U.S.C. § 1461 and 18 U.S.C. § 1462 prohibit the FDA

from approving a new drug application or a supplemental new drug application that

fails to limit distribution of chemical abortion drugs in accordance with these laws.

      K.       Retains jurisdiction of this matter for the purpose of enforcing this

Court’s order.

      L.       Awards Plaintiffs’ costs, attorneys’ fees, and other disbursements for

this action.

      M.       Grants any other relief this Court deems equitable, just, and

appropriate.




                                         103
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24    Page 104 of 105 PageID 5757



Dated:      November 3, 2023               Respectfully submitted,

ANDREW BAILEY                              RAÚL R. LABRADOR
Missouri Attorney General                  Idaho Attorney General

/s/ Joshua M. Divine                       /s/ Joshua N. Turner
Joshua M. Divine, #69875MO                 *Joshua N. Turner, #12193ID
Solicitor General                          Acting Solicitor General
*Maria Lanahan, #65956MO                   James E.M. Craig, #6365ID
Deputy Solicitor General                   Acting Division Chief
*Samuel C. Freedlund, #73707MO
Deputy Solicitor General                   Idaho Office of
                                           the Attorney General
Office of the Attorney General             700 W. Jefferson St., Suite 210
Supreme Court Building                     Boise, ID 83720
207 W. High Street                         (208) 334-2400
P.O. Box 899                               josh.turner@ag.idaho.gov
Jefferson City, MO 65102                   james.craig@ag.idaho.gov
(573) 751-8870
(573) 751-0774 (fax)                       Counsel for Proposed Plaintiff-
Josh.Divine@ago.mo.gov                     Intervenors
Maria.Lanahan@ago.mo.gov
Samuel.Freedlund@ago.mo.gov                * pro hac vice applications forthcoming

KRIS W. KOBACH
Attorney General of Kansas

s/ Erin B. Gaide
*Erin B. Gaide, #29691KS
Assistant Attorney General

Office of the Attorney General
120 SW 10th Ave., 2nd Floor
Topeka, KS 66612
(785) 296-7109
(785) 296-3131 (fax)
Erin.Gaide@ag.ks.gov




                                     104
Case 2:22-cv-00223-Z Document 176 Filed 01/12/24        Page 105 of 105 PageID 5758



                          CERTIFICATE OF SERVICE

      I hereby certify that, on November 3, 2023, the foregoing was filed

electronically through the Court’s electronic filing system and served by email on all

parties.

                                               /s/ Joshua M. Divine




                                         105
